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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 W&WSENS DEVICES INC.,                          )
                                                )   Civil Action No.
                       Plaintiff,               )
                                                )   JURY TRIAL DEMANDED
        v.                                      )
                                                )
 SAMSUNG ELECTRONICS CO., LTD.,                 )
 SAMSUNG ELECTRONICS AMERICA,                   )
 INC., SAMSUNG SEMICONDUCTOR,                   )
 INC., and SAMSUNG AUSTIN                       )
 SEMICONDUCTOR LLC,                             )
                                                )
                       Defendants.              )
                                                )


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff W&Wsens Devices Inc. (“W&W”) files this Complaint for Patent Infringement

and Demand for Jury Trial against Samsung Electronics Co., Ltd. (“SEC”), Samsung Electronics

America, Inc. (“SEA”), Samsung Semiconductor, Inc. (“SSI”), and Samsung Austin

Semiconductor LLC (“SAS”) (together, “Defendants” or “Samsung”) and alleges as follows:

       1.      W&W is seeking to protect its valuable intellectual property from Samsung’s

ongoing willful infringement. W&W developed and patented novel technology that covers

improving light sensors. W&W contacted Samsung to attempt to discuss potential partnerships

and attempt to engage Samsung in licensing discussions. Samsung chose to willfully infringe

W&W’s patents rather than take a license, necessitating this action.

                                        THE PARTIES

       2.      W&W is a Delaware corporation with its principal place of business at 4546 El

Camino Real, Suite 215, Los Altos, California, 94022.




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       3.      SEC is a corporation organized and existing under the laws of the Republic of

Korea, with its principal place of business located at 129 Samsung-ro, Maetan-3dong,

Yeongtong-gu, Suwon-si, Gyeonggi-do, 16677, Republic of Korea. SEC designs and makes

products, including telecommunication, semiconductor, and mobile phone products that are sold

throughout the United States, including in this District, and introduces products into the stream

of commerce that incorporate infringing technology knowing that they would be sold in this

District and elsewhere in the United States.

       4.      SEA is a corporation organized and existing under the laws of New York, with its

principal place of business located at 85 Challenger Road, Ridgefield Park, New Jersey 07660.

SEA has been registered to do business in Texas under File Number 0011028006 since at least

June 10, 1996. SEA may be served with process through its registered agent, CT Corporation

System, located at 1999 Bryan St., Ste. 900, Dallas, Texas 75201. SEA is a wholly-owned

subsidiary of SEC. SEA conducts business operations at multiple locations within this District.

For example, SEA maintains offices at 6625 Excellence Way, Plano, Texas 75023; a retail store

at 2601 Preston Road, Frisco, Texas 75034; and a support center at 3580 Preston Road, Suite

100, Frisco, Texas 75034. SEA markets and sells products, including consumer electronics and

mobile devices, throughout the United States, including in this District, and introduces products

into the stream of commerce that incorporate infringing technology knowing that they would be

sold in this District and elsewhere in the United States.

       5.      SSI is a corporation organized and existing under the laws of the State of

California, with its principal place of business at 3665 North First Street, San Jose, California

95134. SSI may be served with process through its registered agent, CT Corporation, 1999

Bryan St., Suite 900, Dallas, Texas 75201. SSI sells and offers to sell products and services




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throughout the United States, including in this District, and introduces products into the stream

of commerce that incorporate infringing technology knowing that they would be sold in this

District and elsewhere in the United States.

       6.      SAS is limited liability company organized and existing under the laws of

Delaware, with its principal place of business at 12100 Samsung Boulevard, Austin, Texas

78754. SAS may be served with process through its registered agent, CT Corporation, 1999

Bryan St., Suite 900, Dallas, Texas 75201. SAS makes products that are sold throughout the

United States, including in this District, and introduces products into the stream of commerce

that incorporate infringing technology knowing that they would be sold in this District and

elsewhere in the United States.

       7.      SAS is a wholly owned subsidiary of SSI, which is a wholly owned subsidiary of

SEA, which is a wholly owned subsidiary of SEC.

       8.      SEC, SEA, SSI and SAS work collectively in making, using, offering for sale,

selling, importing, or otherwise providing, within the United States and this District, directly or

indirectly, the infringing products described below.

                                  JURISDICTION AND VENUE

       9.      Jurisdiction and venue for this action are proper in this District.

       10.     This action for patent infringement arises under the patent laws of the United

States, 35 U.S.C. § 1 et seq. This Court has original subject matter jurisdiction over this

controversy pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this is a civil action arising

under the Patent Act.

       11.     Each Defendant is subject to this Court’s personal jurisdiction consistent with the

principles of due process and the Texas Long Arm Statute. Tex. Civ. Prac. & Rem. Code

§§ 17.041, et seq.


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       12.     This Court has personal jurisdiction over each Defendant at least because, through

each Defendant’s own acts and through the acts of the other Defendants acting as its agent,

representative, or alter ego, they each (i) have a presence or a regular and established place of

business in the State of Texas and this District; (ii) have purposefully availed themselves of the

rights and benefits of the laws of the State of Texas and this District; (iii) have done and are

doing substantial business in the State of Texas and this District, directly or through

intermediaries, both generally and with respect to the allegations in this Complaint, including

their one or more acts of infringement in the State of Texas and this District; (iv) maintain

continuous and systematic contacts in the State of Texas and this District; and (v) place products

alleged to be infringing in this Complaint in the stream of commerce, directly or through

intermediaries, with awareness that those products are likely destined for use, offered for sale,

sold, and imported into the State of Texas and this District.

       13.     For example, Defendants have authorized retailers and distributors in the State of

Texas and this District for the products alleged to be infringing in this Complaint, and

Defendants have derived substantial revenues from their infringing acts occurring within the

State of Texas and this District.

       14.     Defendants have established sufficient minimum contacts with the State of Texas

and this District such that they should reasonably and fairly anticipate being brought into court in

the State of Texas and this District without offending traditional notions of fair play and

substantial justice, and Defendants have purposefully directed activities at residents of the State

of Texas and this District. Moreover, the patent infringement claims alleged herein arise out and

are related to one or more of the foregoing activities. A substantial part of the events giving rise




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to Plaintiffs’ claims, including acts of patent infringement, have occurred in the State of Texas

and this District.

        15.     Venue is also proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and

1400(b) because each Defendant is subject to personal jurisdiction in this District and has

committed acts of infringement in this District. Each Defendant, through its own acts and

through the acts of each other Defendant acting as its agent, representative, or alter ego, makes,

uses, sells, offers to sell, and imports infringing products within this District, has a continuing

presence within this District, and has the requisite minimum contacts with this District such that

venue is proper.

        16.     For example, SEA maintains a regular and established place of business in this

District at 6625 Excellence Way, Plano, Texas 75023 and has committed acts of infringement in

this District, as described herein. Further, SEC directs and controls the actions of SEA such that

it too maintains a regular and established place of business in this District at 6625 Excellence

Way, Plano, Texas 75023 and has committed acts of infringement in this District. Additionally,

venue is proper as to SEC, a foreign corporation, because suits against foreign entities are proper

in any judicial district under 28 U.S.C. § 1391(c)(3).

        17.     Defendants have submitted to venue and the exercise of personal jurisdiction in

this District in patent infringement actions previously filed by other parties. See, e.g., Answer,

¶¶ 11-20, The Research Foundation for the S.U.N.Y., et. al. v. Samsung Elecs. Co., et. al., No.

2:23-cv-00141 (E.D. Tex. Aug. 10, 2023), ECF No. 25; Answer, ¶¶ 13, 18, Cal. Inst. Tech v.

Samsung Elecs. Co., No. 2:21-cv-00446 (E.D. Tex. Apr. 5, 2022), ECF No. 19; Answer to

Amended Complaint, ¶¶ 6, 7, Jawbone Innovations LLC v. Samsung Elecs. Co., No. 2:21-cv-

00186 (E.D. Tex. Dec. 9, 2021), ECF No. 27.




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                                    W&W’S INNOVATIONS

       18.     The founders of W&W invented breakthrough photosensor technology that

substantially increases light sensitivity in low-light, high-speed and near infrared applications of

Complimentary Metal-Oxide Semiconductor (“CMOS”) image sensors. These sensors are

semiconductors that capture light and convert it into an electrical signal and are used in almost

every smartphone and digital camera today. CMOS sensors have a wide range of other

applications, such as scanners, webcams, security systems, autonomous vehicles, and optical

interconnect for data centers.

       19.     W&W’s founders have a remarkable track record of academic and industry

success. CEO and Co-Founder Shih-Ping (Bob) Wang, is a graduate of Rensselaer and MIT, and

was the founder of various companies that developed innovative technology, which were

acquired for a collective total of around $400 million. CTO and Co-Founder Shih-Yuan (SY)

Wang, obtained a Ph.D. from U.C. Berkeley. While at HP Labs, he received over 200 patents,

leading to multiple important advances in the field of high-speed photodetectors. For example,

SY Wang is a co-inventor of the groundbreaking multimode VCSELS patent (U.S. Patent No.

5,359,447) that paved the way for optical datacenter interconnect and the laser light source for

the face ID technology used in Apple’s iPhones.

       20.     Bob Wang and SY Wang formed W&W in 2014 in an effort to design better low-

light CMOS photosensors. CMOS sensors are a type of active-pixel sensor (APS), which is an

image sensor where each pixel sensor unit cell has a photodetector (typically a pinned

photodiode) and one or more active transistors. These sensors have an array of photodiodes

(PDs) or avalanche photodiodes (APDs), which convert light into electricity that can be stored as

a signal and read by a computer. These signals measure the amount of light in a scene and, in

combination, can be used to create an image. After the CMOS sensor gathers the data, it


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transfers it to an analog-to-digital converter (ADC), which converts individual pixels made up of

cells with different electron charges into colors of various shades. The cells of the CMOS

sensors are generally made from semiconducting silicon.

       21.     The W&W inventions cover the use of tiny nano-microstructure holes in the

surface of silicon photodiodes that trap photons, which improves the sensitivity of CMOS

devices.

       22.     W&W’s inventions addressed a significant problem in the prior art related to the

use of silicon in optical applications. This problem arose from the trend in CMOS sensors of

increasing resolution (number of pixels) and reducing pixel size, as depicted below, with the blue

dots showing the increasing trend of active silicon thickness with decreasing pixel pitch.




Ex. 6 at Figure 3 (2021 International Image Sensor Workshop (IISW) by TechInsights).

       23.     Prior to W&W’s inventions, this trend had created significant challenges in

ensuring sufficient light sensitivity and absorption, particularly when pixel dimensions shrunk to



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1µm or below (as shown by blue dots in the graph above). Specifically, long wavelength light

(red to infrared) corresponds to silicon’s indirect bandgap, as shown in the graphs below, and

would require thicker silicon to have acceptable sensitivity and absorption. For wavelengths

longer than 730nm, a thickness of at 10µm of silicon would be necessary to have more than 64%

of absorption of the incident light.




Ex. 7 (https://www.pveducation.org/pvcdrom/materials/optical-properties-of-silicon#)
(annotations added).

       24.     However, there was a problem in the prior art of fabricating silicon devices with

such thickness while maintaining the smaller lateral dimensions of the pixels used in higher

resolution CMOS sensors (e.g., close to 1µm). This problem resulted in lower yield and

increased costs for the CMOS sensors. Further reduction in pixel size would require a thinner

absorption region, reducing detection efficiency, especially for red to infrared light. Thus, there

was a long-felt need to increase the absorption coefficient of thinner silicon, permitting smaller

pixels and increased sensitivity for infrared applications, such as low-light photography, depth

detection, facial recognition.

       25.     W&W’s patented technology addresses this problem with its use of

microstructures in the silicon absorption layer of CMOS sensors, which improved light



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sensitivity without the need for a thicker silicon absorption layer. These highly valuable

inventions thereby avoided the conventional limitations of silicon in CMOS sensors.

       26.     The W&W inventors directed a technical group at University of California at

Davis (UCD) to fabricate initial demonstrative silicon photosensors. In testing those

demonstrative photosensors, they confirmed that the microstructures allowed them to trap

photons and dramatically improved the low-light performance of the photosensors. These

demonstrative silicon photosensors were never sold or offered for sale.

       27.     W&W disclosed its microstructure technology in 2017 in a ground-breaking

article in Nature Photonics that is now widely cited (W&W’s “2017 Microstructure Article”),

attached as Exhibit 8 (available at https://faculty.engineering.ucdavis.edu/islam/wp-

content/uploads/sites/116/2019/01/Ultrafast-Silicon-PD-Nature-Photonics-May-2017.pdf).

                               W&W’S ASSERTED PATENTS

       28.     In recognition of its innovations, the United States Patent and Trademark Office

(“USPTO”) has awarded W&W numerous patents covering its novel technologies for

semiconductor photodetectors. These patents stem from a series of provisional applications filed

starting in 2013.

       29.     On September 10, 2024, the USPTO issued U.S. Patent No. 12,087,871 (the “’871

Patent”), entitled “Microstructure Enhanced Absorption Photosensitive Devices.” The ’871

Patent lists Shih-Yuan Wang and Shih-Ping Wang as its inventors and is assigned to W&W.

Attached hereto as Exhibit 1 is a true and correct copy of the ’871 Patent.

       30.     On April 4, 2023, the USPTO issued U.S. Patent No. 11,621,360 (the “’360

Patent”), entitled “Microstructure Enhanced Absorption Photosensitive Devices.” The ’360




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 Patent lists Shih-Yuan Wang and Shih-Ping Wang as its inventors and is assigned to W&W.

 Attached hereto as Exhibit 2 is a true and correct copy of the ’360 Patent.

        31.     On November 5, 2019, the USPTO issued U.S. Patent No. 10,468,543 (the “’543

 Patent”), entitled “Microstructure Enhanced Absorption Photosensitive Devices.” The ’543

 Patent lists Shih-Yuan Wang, Shih-Ping Wang, and M. Saif Islam as its inventors and is assigned

 to W&W. Attached hereto as Exhibit 3 is a true and correct copy of the ’543 Patent.

        32.     On October 15, 2019, the USPTO issued U.S. Patent No. 10,446,700 (the “’700

 Patent”), entitled “Microstructure Enhanced Absorption Photosensitive Devices.” The ’700

 Patent lists Shih-Yuan Wang, Shih-Ping Wang, and M. Saif Islam as its inventors and is assigned

 to W&W. Attached hereto as Exhibit 4 is a true and correct copy of the ’700 Patent.

        33.     On December 20, 2016, the USPTO issued U.S. Patent No. 9,525,084 (the “’084

 Patent”), entitled “Microstructure Enhanced Absorption Photosensitive Devices.” The ’084

 Patent lists Shih-Yuan Wang and Shih-Ping Wang as its inventors and is assigned to W&W.

 Attached hereto as Exhibit 5 is a true and correct copy of the ’084 Patent.

        34.     The ’871, ’360, ’543, ’700, and ’084 Patents (together, the “Asserted Patents”)

 cover inventions for enhancement of light detection sensitivity with micro- or nano- structures

 near the semiconductor surface of photosensitive devices.

        35.     W&W owns all rights, title, and interest in and to the Asserted Patents.

        36.     W&W has not offered for sale or sold any product that embodies any claim of any

 of the Asserted Patents, nor has it licensed the Asserted Patents to any third party. Thus,

 W&W’s recovery of pre-suit damages for Samsung’s infringement of the Asserted Patents is not

 limited by 35 U.S.C. §287(a). In addition, Samsung has had actual notice and knowledge of the

 Asserted Patents, as set forth below.




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        37.     All of the Asserted Patents are patent eligible, valid and enforceable. The

 Asserted Patents disclose and specifically claim non-abstract, inventive CMOS devices that

 incorporate W&W’s pioneering use of microstructures. These devices represent significant

 improvements over conventional CMOS devices by using novel physical structures to improve

 the devices’ performance.

        38.     W&W’s inventions solved the problems posed in the prior art when pixel

 dimensions continued to shrink to achieve higher resolutions and lower cost, which required

 reduction in the thickness of the photosensitive regions of the sensors. The reduced thickness of

 the photosensitive regions decreased detection efficiency, particularly for wavelengths in the red

 and near infrared spectrum. Thus, there was a long felt need to increase the absorption

 coefficient of silicon for a thickness that permits smaller pixels while increasing sensitivity,

 particularly for infrared applications, such as low-light photography, depth detection and facial

 recognition.

        39.     W&W’s inventions address this need by incorporating microstructures in the

 surface of silicon photodiodes to trap photons, dramatically improving the sensitivity of CMOS

 devices. These microstructures provide a significant improvement to the modern CMOS sensors.

 These structures were not routine, conventional or previously known or understood in the art.

 For each claim of the Asserted Patents, the claim elements, individually and in combination,

 result in enhanced absorption and sensitivity.

        40.     The use of these microstructures as disclosed in the Asserted Patents provides a

 novel and non-obvious solution to the problems with prior CMOS sensors. For instance, they

 address the shortcomings of silicon in optical applications and the difficulty of altering silicon’s

 optical properties, which are based on the interaction of light with the electrons in the silicon.




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 Silicon’s electronic state can be altered slightly by electric field (via electrooptical effect) or by

 carrier injection (via free carrier absorption), both requiring an external driving force. W&W’s

 patented microstructures instead passively alter the optical properties of the silicon by altering

 the propagation of light inside the materials and, as verified by optical simulation, trapping light

 inside the material. As shown below, such simulation shows formation of lateral modes around

 holes in the first 21 femto (10−15) seconds:




 Ex. 8 (2017 Microstructure Article) at Fig. 2.

         41.     This result is counterintuitive because the presence of holes reduces the amount of

 silicon material to absorb the light, which would have been expected to reduce light absorption.

 However, the data from testing confirms that the absorption is increased with the presence of the

 microstructures. Specifically, as shown below, the data compared the measured external

 quantum efficiency (QE) (i.e., the measure of the effectiveness of the sensor to convert incident

 photons into electrons, which indicates the level of light absorption) of photodiodes with holes

 (depicted below by red diamond symbols), with the simulations of photodiodes without holes

 (depicted below by blue and black lines): As shown, photodiodes with holes have much higher

 external quantum efficiency for the wavelength range between 800nm to 900nm:




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 Ex. 8 (2017 Microstructure Article) at Fig. 4.

        42.     The benefits of W&W’s inventions to CMOS devices were further discussed in a

 paper co-authored by S. Y. Wang in May 2021 entitled “Single Microhole per Pixel in CMOS

 Image Sensors with Enhanced Optical Sensitivity in Near-Infrared,” published in IEEE Sensors

 Journal (W&W’s “2021 Microhole Article”), attached as Exhibit 9. The 2021 Microhole Article

 disclosed various hole structures, as shown below:




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 Ex. 9 (2021 Microhole Article) at Fig. 1 (showing various light-absorption enhancing structures).

        43.     The study concludes that even “a single hole with a size of about 900 nm

 increases the optical efficiency of the image sensors for all the colors and in near-infrared

 wavelengths.” Ex. 9 (2021 Microhole Article) at 10560.




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 Ex. 9 (2021 Microhole Article) at Fig. 3 (showing enhancement of light absorption between
 0.5µm to 1µm wavelength range).

          44.   Accordingly, the innovative microstructures of the Asserted Patents permit a new

 kind of CMOS sensor to be fabricated with higher yield and higher performance. Use of such

 microstructures for increasing CMOS sensors’ light sensitivity was not known prior to W&W’s

 2017 Microstructure Article, let alone years earlier when the inventors conceived the claimed

 inventions.

          45.   As set forth below, after publication of the 2017 Microstructure Article, CMOS

 sensor manufacturers such as Samsung began adopting this patented technology into their CMOS

 sensors, without license from W&W.

                           SAMSUNG’S INFRINGING PRODUCTS

          A.    Samsung’s Accused Products Incorporate Infringing CMOS Image Sensors

          46.   Samsung makes, uses, sells, offers for sale, and imports into the United States and

 this District products and services that infringe the Asserted Patents (the “Accused Products”).

 The Accused Products include Samsung’s CMOS image sensors (CIS) (the “CIS Accused

 Products”) and its “Time-of-Flight” (ToF) CMOS image sensors (the “ToF Accused Products),

 both of which are part of its flagship ISOCELL product line. The Accused Products also include

 Samsung’s products that include the CIS Accused Products (the “CIS Accused End Products”),

 such as its Galaxy product line, which depend on Samsung’s infringing Accused Products to

 provide low-light photography.

          47.   Samsung intentionally and deliberately fabricates the infringing microstructures.

 As discussed below, Samsung has reported the benefits to the Accused Products of including

 these microstructures and makes the microstructures through specific fabrication and processing

 steps.



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                1.     Samsung’s CIS and ToF Accused Products

        48.     Samsung’s CIS Accused Products infringe the ’871, ’360, ’543, and ’700 Patents.

        49.     The CIS Accused Products include Samsung’s ISOCELL products with dual-PD

 or similar PDAF features or RGB Bayer technology, including at least the following ISOCELL

 models: GNK (S5KGNK), HP2 (S5KHP2), HPX (S5KHPX), HP3 (S5KHP3), HP1

 (S5KHP1), HM6 (S5KHM6), HM3 (S5KHM3), HM2 (S5KHM2), HMX (S5KHMX), HM1

 (S5KHM1), GWB (S5KGWB), GW3 (S5KGW3), GW2 (S5KGW2), GW1 (S5KGW1), GN9

 (S5KGN9), GN5 (S5KGN5), GN3 (S5KGN3), GN2 (S5KGN2), GN1 (S5KGN1), JN1

 (S5KJN1), GM5 (S5KGM5), GM2 (S5KGM2), GM1 (S5KGM1), GH1 (S5KGH1), JD1

 (S5KJD1), GD2 (S5KGD2), GD1 (S5KGD1), 2L3 (SAK2L3, S5K2L3), 2L1 (S5K2L1), 2L2

 (S5K2L2), 2L4 (SAK2L4, S5K2L4), 2L7 (S5K2L7), 2L8 (S5K2L8), 3P8 (S5K3P8), 3P9

 (S5K3P9), 3T1 (S5K3T1SP), 3T2 (S5K3T2, S5K3T2SP), 3LU (S5K3LU), GN8 (S5KGN8),

 2X5 (S5K2X5), HP9 (S5KHP9), GNJ (S5KGNJ), JN5 (S5KJN5), GNK (S5KGNK). Exs. 41-

 42 (representative sample of public documents for exemplary CIS Accused Products showing

 that they include dual-PD or similar PDAF features or RGB Bayer technology); see also Ex. 24

 (https://en.wikipedia.org/wiki/ISOCELL).

        50.     The ToF Accused Products include Samsung’s ISOCELL ToF sensors, including

 at least the following models: Vizion 33D, Vizion 63D, and Vizion 931. The ToF Accused

 Products infringe the ’084 Patent.

                2.     Samsung’s CIS Accused End Products

        51.     Samsung’s CIS Accused End Products infringe the ’871, ’360, ’543, and ’700

 Patents.




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        52.     Samsung’s CIS End Accused Products are widely used in a variety of products,

 including smartphones, tablets, computers, digital cameras and more, which Samsung and third

 parties make, use, offer for sale, sell, and import into the United States and this District. These

 third parties using CIS Accused Products include Google and Motorola.

        53.     For instance, Samsung makes, uses, sells, offers for sale, and imports into the

 United States and this District its Galaxy product line that include CIS Accused Products (the

 “CIS Accused End Products”), including at least the following models: Samsung Galaxy S24

 Ultra, S23 Ultra, S22 Ultra, S21 Ultra, S21 Ultra 5G, S20 Ultra, Note 20 Ultra, A35, A32,

 A41, A6s, M52 5G, S20, S20+, S21, S21+, Note 20, A52s 5G, A70s, A71, A71 5G, F41,

 M31, A53 5G, A54, S22, S22+, S23, S23+, S23 FE, S24, S24+, Z Fold 4, Z Fold 5, Z

 Flip 6, Z Fold 6, A13, A13 5G, A14 5G, A23, A23 5G, A24 5G, A25, A04s, M13, M13

 5G, M23, M23 5G, A12, F12, M12, A21s, A22, A22 5G, A32 5G, A42 5G, M42 5G,

 M32 5G, S10 Lite, A90 5G, M30s, S20 Ultra 5G, A70, A60, S9, S9+, Note 9, S7, S7

 Edge, S7 Active, Note 7, Note FE, S8, S8+, Note 8, S10, S10+, S10e, Note 10, Note 10+,

 Fold, Z Flip 4G, Z Flip 5G, S20 FE, S21 FE, Z Fold 3, Z Flip 4, Z Flip 5, Z Flip 6, Z Fold

 6, S10 5G, Z Note, A5, A7, C5 Pro, C7 Pro, C9 Pro, Z Flip 4G/5G and M53. Exs. 42, 45

 (highlighting added) (representative sample of public documents for exemplary CIS Accused

 End Products showing that they include a CIS Accused Product); see also Ex. 24

 (https://en.wikipedia.org/wiki/ISOCELL).

        B.      Samsung’s Accused Products Incorporate Infringing Microstructures

        54.     Samsung’s CIS Accused Products infringe the ’871, ’360, ’543, and ’700 Patents

 based on their use of trenches with dual-pixel autofocusing or RGB Bayer technology, which are

 described further below. With these techniques, multiple photodiodes are used as a single pixel




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 (or photodetector), such that the trenches constitute holes within a pixel as claimed in the ’871,

 ’360, ’543, and ’700 Patents. In addition, the ToF Accused Products infringe the ’084 Patent in

 view of their use of trenches as part of deep trench isolation and backside scattering technology,

 as described below.

        55.     Samsung’s CIS Accused Products have microstructures in the photosensitive

 region in the manner claimed in the Asserted Patents. These products use shallow trenches and,

 more recently, deep trenches (such as in the ISOCELL GN5) as holes within the pillars in pixels,

 as shown below and as described in Samsung’s publication entitled, “An All Pixel PDAF CMOS

 Image Sensor with 0.64μm×1.28μm Photodiode Separated by Self-aligned In-pixel Deep Trench

 Isolation for High AF Performance,” 2017 Symposium on VLSI Technology Digest of Technical

 Papers (Samsung’s “DTI Article”), attached as Exhibit 10.




 Ex. 10 (Samsung’s DTI Article) at Fig. 3 (showing inter-pixel deep trench isolation and in-pixel
 deep trench isolation).

        56.     Samsung reports that this deep trench isolation improves light sensitivity of its

 sensors. Specifically, in Figure 2 of the DTI Article, the device structure with in-pixel deep

 trench isolation is shown along with an optical simulation. Figure 7 compares the quantum



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 efficiency between the pixel structures with and without deep trench isolation separation. The

 comparison shows improved quantum efficiency with deep trench isolation separation for

 wavelengths longer than 500 nm, confirming the benefit of W&W’s patented technology. Ex. 10

 (DTI Article) at T104 (“sensitivity of Red and Green light is gained as one can see from Fig. 7”).




 Ex. 10 (DTI Article) at Figs. 2 and 7 (showing enhancement of light sensitivity using in-pixel
 deep trench isolation separation for the wavelength longer than 500nm).

                1.     Dual-Photodiode Autofocusing

        57.     Various of Samsung’s CIS Accused Products use a dual-photodiode architecture

 for Phase Detection Auto Focus (PDAF), as shown below. These products infringe the ’871,

 ’360, ’543, and ’700 Patents.




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 Ex. 11 at Fig. 4 (https://www.techinsights.com/blog/part-4-non-bayer-cfa-phase-detection-
 autofocus-pdaf).

        58.     PDAF was first introduced for the purpose of auto focusing. Historically, PDAF

 uses two separate pixels and compares the intensity detected by these two pixels during focusing.

 Under this dual-photodiode architecture, two photodiodes are used for phase detection, but when

 an image is acquired, both photodiodes are used together as one pixel. In the early

 implementation, only a low percentage of pixels were used for PDAF. Later, Samsung

 introduced dual-photodiode architecture for every pixel in certain of its CIS models, which it

 refers to as “Dual Pixel technology.”

        59.     Samsung explained its Dual Pixel technology in March 2016: “With 12 million

 pixels working as a phase detection auto-focus (PDAF) agent, the new image sensor brings

 professional auto-focusing performance to a mobile device.” Ex. 12 at 1

 (https://news.samsung.com/global/samsung-elevates-mobile-phone-picture-quality-with-dual-

 pixel-technology-in-its-newest-image-sensor). A consumer website explains that “each and



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 every pixel of the Dual Pixel image sensor is capable of detecting phase differences of perceived

 light for significantly faster auto-focus,” as shown below:




 Ex. 13 at 2-3 (https://www.fonearena.com/blog/177643/samsung-12mp-dual-pixel-sensor-in-
 galaxy-s7-and-s7-edge-detailed.html) (describing Samsung 12MP Dual Pixel sensor in Galaxy
 S7 and S7 edge).

        60.     Samsung further detailed its Dual-Pixel technology in a 2020 paper entitled “A

 Low-power 65/14nm Stacked CMOS Image Sensor,” published in IEEE International

 Symposium on Circuits and Systems (ISCAS) (Samsung’s “2020 2PD Article”). Ex. 14. Figure

 2 of the 2020 2PD Article shows two photodiodes under each color filter, specifically depicting

 “a block diagram of the implemented CIS with bonding between a top chip in 65nm and a

 bottom chip in 14nm. The top chip consists of 4,032 x 3,040 pixels which are divided into a left

 and a right [photodiodes (PD)]. Each pixel has partial-depth deep trench isolation (DTI)

 structures to reduce crosstalk between PDs.” Ex. 14 at 1.




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 Ex. 14 at Fig. 2.

        61.     With the dual-photodiode architecture, for each pixel there are two photodiodes

 under a micro-lens (µ-lens). These photodiodes share the same circuitry. When these two

 photodiodes are used in autofocusing mode, the difference in the signal strengths detected by the

 photodiodes is sent to output memory. These two photodiodes individually do not engage in

 image acquisition. When these two photodiodes are used in the image acquisition mode, they are

 used together with transmission gates TG_L and TG_R, both turned on simultaneously so that

 the charges stored in the photodiodes are transferred out. In the image acquisition mode, these

 two photodiodes operate as one pixel under one µ-lens.




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        62.     The operation of the circuitry is further explained in the diagram below:




 Ex. 14 (2020 2PD Article) at Fig. 3 (annotated to show the timing of the RG transistor and TG_L
 and TG_R that the circuit resets before reading photodiodes).

        63.     For each autofocusing reading, the objective is to detect the difference between

 the charges stored in the two photodiodes under each µ-lens. See Ex. 13

 (https://www.fonearena.com/blog/177643/samsung-12mp-dual-pixel-sensor-in-galaxy-s7-and-

 s7-edge-detailed.html) (“[E]ach and every pixel of the Dual Pixel image sensor is capable of

 detecting phase differences of perceived light for significantly faster auto-focus.”). If the image

 is precisely focused on the CMOS image sensor, the left and the right photodiodes should detect

 the same amount of the signal. This is how the camera system performs the autofocusing.

 “[T]he disparity between left and right PD signals is used for the phase detection auto-focus (AF)

 data and the sum signal of them is used as the output image data.” Ex. 14 (2020 2PD Article) at




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 2. Thus, when the CIS operates as an image sensor, it uses the sum of the signal of the two

 photodiodes within a single pixel (or photodetector).

        64.     Each µ-lens operates as one pixel, or one photodetector, when the camera

 acquires a focused image. This pixel (i.e., photodetector) includes deep trench isolation, as

 explained above and shown in the image below:




 Ex. 15 (Samsung’s GN2 CIS) at Fig. 4 (showing holes are fabricated to provide in-pixel deep
 trench isolation inside a pixel).

                2.      RGB Bayer

        65.     Certain CIS Accused Products have used one of the following arrangements of

 sub-pixels as part of the Bayer filter, which is a color filter array for arranging Red-Green-Blue

 (RGB) color filters on a square grid of photosensors:

    •   Tetracell uses a Quad Bayer or 4-cell design. For darker scenes, signal processing can

        combine data from 2x2 pixel groups to act like a larger pixel with a repeating 4×4

        subpixel pattern with 4 red, 8 green and 4 blue subpixels. For brighter scenes, signal

        processing can convert the Tetracell into a Red-Green-Blue (RGB) filter to achieve 4x

        higher resolution.

    •   Nonacell is similar to Tetracell, but with 3x3 pixel groups and a 6×6 pattern with 9 red,

        18 green and 9 blue subpixels.


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    •    ChameleonCell is similar to Tetracell and Nonacell, but with 4x4 pixel groups and an

        8x8 pattern with 16 red, 32 green and 16 blue subpixels.

 The CIS Accused Products using Tetracell, Nonacell or Chameleoncell RGB Bayer technology,

 in both binning mode and remosaic mode (which are described below), infringe the ’871, ’360,

 ’543, and ’700 Patents. Below is a depiction of the Nonapixel and the Tetrapixel designs:




 Ex. 16 at 2 (https://news.samsung.com/global/samsungs-108mp-isocell-bright-hm1-delivers-
 brighter-ultra-high-res-images-with-industry-first-nonapixel-
 technology#:~:text=In%202017%2C%20Samsung%20introduced%20Tetrapixel%2C%2A%2A
 %20a%20pixel-binning%20technology,version%20of%20Tetrapixel%20with%20a%20three-by-
 three%20pixel%20structure).

        66.    Each Bayer cell, under one color filter, comprises 2x2, 3x3 or 4x4 photodiodes.

 ISOCELL HM1 is an example of a CIS Accused Product that uses Nonacell RGB Bayer

 technology, which Samsung describes in its article entitled “A 0.8 μm Nonacell for 108

 Megapixels CMOS Image Sensor with FD-Shared Dual Conversion Gain and 18,000e- Full-Well

 Capacitance” published in 2020 in the IEEE International Electron Devices Meeting (IEDM)

 (Samsung’s “2020 Nonacell Article”):



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 Ex. 17 (2020 Nonacell Article) at Fig. 1 (showing 3 1x3 shared pixels are arranged horizontally
 so that each output from each shared pixel is combined in the analog-to-digital converter).




 Ex. 17 (2020 Nonacell Article) at Fig. 3 (showing nine buried photodiodes under one color filter
 and holes fabricated inside each overall pixel structure).

        67.     While Samsung describes the HM1 as having 108 million (12000x9000) pixels

 (i.e., 108 megapixels (MPs)), its electronic circuitry, limited by available space, is organized as a

 12 MP device (i.e., 108 MP / 9 buried photodiodes under one color filter), as explained in the

 2020 Nonacell Article. Specifically, there are 3,000 analog-to-digital converters to output

 sequentially 4,000 data points during each readout frame. Thus, at any given frame, only 12 MP

 can be read out. When reading out the information of each pixel, either one of the nine buried

 photodiodes or all of the nine buried photodiodes are accessed, such that each Bayer cell is

 configured as one pixel, rather than nine pixels. After reading nine frames of data, each with a



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 selected buried photodiode of a Bayer cell, a post remosaic algorithm (described further below)

 up-converts these nine 12MP images into one combined image with an effective resolution of

 108 MPs. Therefore, the HM1 is physically a 12 MP chip with a native resolution of 12 MPs.

        68.     For each 1x3 shared pixel shown in Fig. 1 of the 2020 Nonacell Article, the

 output is combined in the analog-to-digital converter. Thus, these buried photodiodes do not

 operate independently because they share the same Floating Diffusion (FD), which is a capacitor

 that stores charges temporarily. The FD has to be reset to an initial voltage before being used to

 store the charges transferred from the photodiode. Therefore, the buried photodiodes cannot be

 sampled separately from one another. Additional details regarding the circuitry are shown in

 Figure 4 of the 2020 Nonacell Article and discussed further below:




 Ex. 17 (Samsung’s 2020 Nonacell Article) at Fig. 4a.

        69.     Binning mode: Samsung uses pixel-binning with its Tetracell, Nonacell and

 Chameleoncell technology, which is a technique that reduces the effective resolution of the

 camera sensor as it combines the data of multiple pixels (e.g., nine pixels with Nonacell) into one



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 larger pixel, reducing the amount of information to be processed. In binning mode, as described

 in the 2020 Nonacell Article, “[t]hree 1x3 shared pixel units are combined to create a 3x3 pixel

 with the same color.” Ex. 17 at 1. Specifically, “[i]n nona-binning operation mode, 9 pixels are

 read simultaneously, signal electrons in shared three PDs are summed in the floating diffusion

 (FD), and the three vertical outputs are averaged at the voltage domain.” Ex. 17 at 1.

        70.     Remosaic mode: Samsung uses remosaic mode, which employs an algorithm to

 rearrange the pixel array (e.g., 12 MPs) to get a higher resolution (e.g., 108 MPs), as shown in

 Figure 1 of the 2020 Nonacell Article. In remosaic mode, the photodiode connected to TG1 (or

 TG2, or TG3) is used individually, while the other two buried photodiodes are sampled until VFD

 is reset. The reset instruction is performed chip-wise. Each time VFD is reset, the buried

 photodiodes are reset as well. The 3 metal connections (columns) correspond to one analog-to-

 digital converter as discussed above (in Fig. 1). To avoid interference between the 3 1x3 shared

 pixels, only one of them will be selected at any given time. Thus, for instance, the HMI can only

 produce images with a 12MP resolution at any given time, and the transistors, together, perform

 the storage, transmission, amplification and signal processing.

        71.     Therefore, these buried photodiodes never operate as independent pixels from one

 another, which is why Samsung refers to it as a 1x3 shared pixel in its 2020 Nonacell Article.

 Although only one of the buried photodiodes is accessed by the electronics during the integration

 phase of the light absorption, all three buried photodiodes operate as one photodetector.

        72.     Each of these independent pixels (or photodetectors) includes trenches or in-pillar

 holes, as further depicted below:




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 Ex. 17 (2020 Nonacell Article) at Fig. 3 (superimposed diagrams), compared with Ex. 8
 (W&W’s 2017 Microstructure Article) at Fig. 2.

                 3.     Enhanced Infrared CIS

           73.   Samsung’s Accused Products using backside scattering technology, described

 below, include trenches or in-pillar holes in each pixel (or photodetector), infringing the ’084

 Patent.

           74.   Samsung sells the ISOCELL Vizion 33D, which is an iToF (Indirect Time-of-

 Flight) sensor. Ex. 18 (https://semiconductor.samsung.com/image-sensor/vision-sensor/isocell-

 vizion-33d/). iToF sensors are used to measure distances between the camera and the subject.

 Based on the time it takes for an infrared light signal to travel to and from an object, the devices

 detect depth information in real-time. This enables 3D imaging and the ability to separate

 subjects from the background with bokeh effects (e.g., where the background of an image is

 blurred). To enhance the sensor’s quantum efficiency, these devices also use deep trench

 isolation, along with backside scattering technology (BST), which uses light scattering by

 shallow deep trench isolation patterns with optimal depth, width, and spacing. Ex. 18.

 (https://semiconductor.samsung.com/image-sensor/vision-sensor/isocell-vizion-33d/).

           75.   Samsung described its approach to iToF for its ISOCELL Vizion 33D in its article

 entitled “A 1.2-Mpixel Indirect Time-of-Flight Image Sensor With 4-Tap 3.5-μm Pixels for Peak


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 Current Mitigation and Multi-User Interference Cancellation,” IEEE, Journal of Solid-State

 Circuits, Nov 2021 (Samsung’s “2021 ToF Article”), attached as Exhibit 19. See also Ex. 20

 (https://image-sensors-world.blogspot.com/2021/03/isscc-2021-on-line-samsung-isocell.html)

 (showing “Samsung ISOCELL Vizion presentation at ISSCC 2021”).

        76.     Samsung’s ISOCELL Vizion 33D incorporates Samsung’s infringing backside

 scattering technology light absorption structure, as reflected in the 2021 ToF Article, showing

 multiple holes etched in one single pixel:




 Ex. 19 (2021 ToF Article) at Fig. 4.

        77.     With less than 5µm thickness of silicon light absorbing layer in Samsung’s

 ISOCELL Vizion 33D, Samsung claims a quantum efficiency of 34% at 940nm, which is

 consistent with the quantum efficiency reported by W&W in its seminal 2017 Microstructure

 Article. Ex. 18. (https://semiconductor.samsung.com/image-sensor/vision-sensor/isocell-vizion-

 33d/) and Ex. 8.

        78.     Samsung introduced additional iToF products in December 2023, including its

 ISOCELL Vizion 63D and Vizion 931, which also use deep trench isolation and backside

 scattering technology. Samsung describes this functionality as follows: “Use cutting-edge


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 technology to get more out of your devices. ISOCELL Vizion 931 reduces power consumption

 and heat generated, which makes the overall device experience more pleasant. These features

 are thanks to front-side deep trench isolation (FDTI) and backside scattering technology (BST),

 along with an industry-high quantum efficiency (QE) of 60%.” Ex. 21 at 3

 (https://semiconductor.samsung.com/image-sensor/global-shutter-image-sensor/isocell-vizion-

 931/). Samsung further represents that with the Vizion 63D, “60% QE is achieved at an infrared

 wavelength of 850 nm.” Id.




 Ex. 22 at 3-4 (https://semiconductor.samsung.com/image-sensor/tof-sensor/) (showing Vizion
 63D and 33D with quantum efficiency of 34% at 940 nm wavelength).

        79.    In view of silicon’s indirect bandgap at long wavelengths, prior to W&W’s

 technology, photodetectors for the iToF sensors were made with GaAs or SiGe materials, which

 raised manufacturing challenges that resulted in lower yields. Samsung recognized the

 significant enhancement of light sensitivity in implementing W&W’s patented technology by its



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 use of deep trench isolation and backside scattering technology in its ToF products. For

 instance, Samsung published an article entitled “Pixel Technology for Improving IR Quantum

 Efficiency of Backside-illuminated CMOS Image Sensor” in International Image Sensor

 Workshop (Samsung’s “IR QE Article”), attached as Exhibit 23, in which it reported the results

 of its examination of different pixel structures for IR light harvesting. Samsung found dramatic

 improvement (70% or higher) in light sensitivity (QE) in the near infrared wavelength range (e.g.

 810 nm and 940 nm). Although the paper focuses on near infrared wavelength, the study shows

 significant improvement (>10%) in the red light (~650 nm) wavelength range as well. The

 figures below show the enhancement of light absorption by backside scattering technology:




 Ex. 23 (Samsung’s IR QE Article) at Figs. 1 and 4.

        C.      Lab Analysis of the Accused Products Confirmed Infringement

        80.     W&W had a lab analysis performed on certain Samsung products, which

 confirmed that the Accused Products infringe the Asserted Patents. Specifically, W&W

 purchased two Samsung Galaxy S23 FE smartphones and two Samsung Galaxy S24 Ultra

 smartphones and provided them to IC Failure Analysis Lab (ICFA) located at 3506 W Lake

 Center Dr, Suite D, Santa Ana, California 92704. ICFA is “a privately held company” whose


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 “personnel have decades of collective experience in micro analysis and process analysis.”

 https://icfailureanalysis.com/.

        81.     ICFA’s lab analyses confirmed that the GN3, HP2 and other CIS Accused

 Products, as well as the CIS Accused End Products, satisfy the claim elements of the ’871, ’360,

 ’543, and ’700 Patents, as set forth further below for each of these patents.

        82.     ICFA used various techniques to analyze the respective CIS components of these

 smartphones. These techniques included Scanning Electron Microscopy (SEM), Transmission

 Electron Microscopy (TEM) and Scanning Capacitance Microscopy (SCM), by which a cross-

 section view of microstructures and doping profiles could be examined in detail in the sub-

 micrometer range. ICFA also used energy-dispersive X-ray (EDX) analysis together with SEM

 to generate information about the chemical composition of the materials. ICFA’s reports are

 attached hereto as Exhibits 25 and 26.

        83.     With respect to the S23 FE smartphones, ICFA retrieved the ISOCELL GN3 chip

 (the “GN3”) from the wide-angle cameras of these smartphones, as shown below:




 Ex. 25 (ICFA-1265) at Slide 2 (showing the rear main camera retrieved from the S23)


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        84.     Samsung advertises its S23 FE camera as a 50MP camera, consistent with the

 resolution of the GN3. After retrieving the GN3, ICFA loaded it into an SEM machine. The top

 view of the GN3 revealed a two-dimensional array of µ-lenses. The spacing of the arrays

 measured to be 1.02 µm, consistent with the 1 µm pixel size of GN3 within measurement

 accuracy. The SEM machine yielded images formed by detecting the varying intensities (grey-

 level) of electrons reflected from the different surfaces, as shown below:




 Ex. 25 (ICFA-1265) at Slide 5 (showing the top view of the CIS chip having 1.02µm x 1.02 µm
 µ-lenses).

        85.     In order to view the underlying structure below the µ-lenses, ICFA used

 mechanical polish to remove the materials near the top surface. As shown below, the pixels of

 the GN3 are separated by square boundaries, and within each pixel, two holes are present:




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 Ex. 25 (ICFA-1265) at Slide 30 (SEM images after the surface materials are mechanically
 polished away, revealing the top view of the semiconductor pixels).

        86.     To further investigate the device structure of the GN3, ICFA obtained a cross

 section view by cutting the GN3 with a Focused Ion Beam (FIB), which sputters the materials

 off by highly energetic Gallium ions. See, e.g., Ex. 27 (“Introduction: Focused Ion Beam

 Systems” Article); Ex. 28 (“Focused Ion Beam SEM (FIB-SEM)” Article). Using FIB, a cut of

 ~15 mm wide and 15 mm deep was made along the center line of a vertical array of the µ-lenses

 to reveal the cross section, as shown below:




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 Ex. 25 (ICFA-1265) at Slide 7 (showing a portion of material removed by FIB to expose the
 cross-section of ~15 µm wide and 15 µm deep).

        87.     The cross section of the GN3 reveals the following features consistent with

 Samsung’s 2020 2PD Article, as shown below:

         •    Along the cut, there are two types of color filters.

         •    Under each color filter, there is one Bayer pixel.

         •    Within a Bayer pixel, there are two sub-pixels which, as set forth above, can be

              accessed together or sequentially.

         •    Under each µ-lens is a sub-pixel. To enable dual-PD PDAF, there are two

              photodiodes in each pixel.




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 Ex. 16 (Bayer RGB) (cropped and annotated to show two types of color filters along the FIB cut)
 and Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 2 (cropped to show two photodiodes under
 each color filter).

        88.    With respect to the S24 Ultras, ICFA retrieved the ISOCELL HP2 chip (the

 “HP2”) from the cameras of these smartphones. As with the GN3, ICFA captured various

 images of the HP2, including the SEM images shown below:




 Ex. 26 (ICFA-1264) at Slide 9 (HP2 top view).




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 Ex. 26 (ICFA-1264) at Slide 15 (HP2 side view).

        89.     As with the GN3, ICFA’s analysis confirmed the presence of in-pixel trenches in

 the HP2.

              W&W REPEATEDLY DISCLOSED IT PATENTS TO SAMSUNG

        90.     Samsung’s infringement of the Asserted Patents is willful and egregious,

 warranting enhancement of damages.

        91.     Samsung is well aware of the Asserted Patents and that it is infringing those

 patents because W&W repeatedly disclosed its patent portfolio to Samsung, explained the

 importance of its patented technology that Samsung is now using, and specifically identified to

 Samsung three of the five Asserted Patents as well as other related patents. Despite W&W’s

 outreach, Samsung never took a license to W&W’s patents. Samsung continues to infringe

 W&W’s patents despite its knowledge of the Asserted Patents and that its Accused Products

 infringe.




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        92.      In an attempt to partner with or license Samsung, W&W contacted multiple

 Samsung employees regarding W&W’s patents and technology. Certain of these

 communications are attached as Exhibit 29-32.

        93.      On April 25, 2019, W&W sent a message regarding its patented technology to

 James Schuessler, Director of Standards Strategy and Vehicle Communications at Samsung. Ex.

 29. W&W attached a presentation entitled “Time-of-Flight Solutions for the Next Generation,”

 that set forth details about W&W’s technology and patent portfolio. Ex. 33. W&W’s

 presentation specifically identified the ’084 Patent, as well as the publication for the ’700 Patent

 (US 2018/0102442 A1) that the Patent Office had allowed at that point but not yet issued. Id. at

 3. Mr. Schuessler responded the next day and directed W&W to Jonathan Charles and Peter

 Deane of Samsung Strategy & Innovation Center (SSIC). Ex. 29. SSIC is a division of SEC that

 works with entrepreneurs and corporate partners to invest in disruptive technologies.

        94.      On April 27, 2019, W&W provided Mr. Charles and Mr. Deane with messages

 regarding W&W’s technology, also attaching the “Time-of-Flight Solutions for the Next

 Generation” presentation. Exs. 30-31, 33. On April 28, 2019, Mr. Charles responded, thanking

 W&W for the information and stating that he would share it with his corporate development

 team. Ex. 30.

        95.      In addition, on April 24, 2019, W&W sent a message to James Ting, Advisor and

 Vice President at SSIC, informing him of W&W’s patents and technology. Ex. 32. W&W’s

 message attached the “Time-of-Flight Solutions for the Next Generation” presentation which, as

 described above, set forth details about W&W’s technology and patent portfolio and specifically

 identified the ’084 Patent, as well as the publication for the ’700 Patent (US 2018/0102442 A1)

 that the Patent Office had allowed. Ex. 33.




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        96.     On May 14, 2019, W&W followed up with an email to Mr. Ting explaining that

 W&W’s technology is “compatible with CMOS technology for high speed, high efficiency

 optical data communications.” Ex. 32. W&W attached another presentation entitled

 “Revolutionizing Optical Connectivity,” which discussed W&W’s patent portfolio and

 technology and specifically identified the ’084 Patent, as well as the publication for the ’700

 Patent. Ex. 34.

        97.     On August 14, 2019, W&W sent separate follow-up emails and LinkedIn

 messages to Messrs. Ting, Charles, and Deane, describing W&W’s technology and attaching

 three presentations that provided various additional details regarding W&W’s patent portfolio

 and technology. Exs. 30-32; 35-37. On August 15, 2019, Mr. Deane responded and confirmed

 that he would forward this information to his contacts at Samsung VC funds. Ex. 31.

        98.     On February 20, 2020, W&W sent Mr. Ting, Mr. Charles and Mr. Deane each an

 email with additional information about W&W’s technology. Exs. 30-32. W&W attached to

 each of these emails a presentation entitled “Thin Silicon Photosensors For the Next

 Generation,” which described W&W’s patent portfolio and technology and specifically

 identified the ’084, ’700 and ’543 Patents. Ex. 38. W&W also noted in each of these emails that

 its “light trapping technology to enhance IR sensitivity in thin silicon has been corroborated by

 Sony,” attaching the Sony article entitled “IR sensitivity enhancement of CMOS Image Sensor

 with diffractive light trapping pixels,” published on June 19, 2017. Exs. 30-32.

        99.     On March 3, 2020, W&W sent Mr. Ting another message and attached a

 presentation entitled “Thin Silicon Photosensors For the Next Generation,” which described

 W&W’s patent portfolio and technology and specifically identified the ’084, ’700 and ’543

 Patents. Exs. 32, 38. Mr. Ting responded and requested that they have a call over Zoom. Ex.




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 32. On March 12, 2020, Mr. Ting met with S.Y. Wang over Zoom to discuss the materials that

 W&W had provided. During this meeting, Mr. Wang further described W&W’s technology and

 reiterated that it was covered by multiple patents. On March 24, 2020, W&W emailed Mr. Ting,

 further explaining W&W’s technology and patent portfolio and discussing the possibility of

 Samsung obtaining a non-exlusive license from W&W or acquiring W&W patents. Ex. 32. Mr.

 Ting responded that day that he would provide this information to Samsung’s memory business

 unit planning group. Id.

        100.    On November 30, 2020, W&W again emailed Mr. Ting, attaching a pre-print

 version of W&W’s 2021 Microhole Article and describing the benefits of W&W’s technology as

 set forth in that article. Ex. 32. On January 4, 2021, W&W again emailed Mr. Ting, attaching

 the 2021 Microhole Article, as well as an updated version of the presentation entitled “Thin

 Silicon Photosensors For The Next Generation.” Exs. 32, 39. The revised presentation provided

 updates to W&W’s patent portfolio and described the benefits of W&W’s microhole

 innovations. Ex. 39. W&W specifically informed Samsung of its infringement, explaining that

 it is “using microholes in CIS whos structures are disclosed in W&W IP applications.” Ex. 39 at

 5. W&W also explained in its email that its focus was now on CMOS image sensors, that the

 efficacy of its patented technology had been validated by Sony, Samsung and numerous

 universities, and that it holds an extensive IP portfolio covering these inventions. Ex. 32. W&W

 again offered to Samsung the possibility of partnership, licensing, or investing in W&W in order

 for Samsung to be able to use W&W’s patented technology for CMOS image sensors. Id.

        101.    As a result of W&W’s multiple contacts with Samsung, including

 communications with multiple senior Samsung individuals responsible for Samsung’s CMOS

 products and business, by no later than 2019 Samsung had notice and knowledge of W&W’s




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 Asserted Patents and technology and that Samsung’s CIS products were infringing those patents

 and benefiting from W&W’s technology. Despite these repeated disclosures, Samsung continues

 to infringe.

         102.   As is evident by Samsung’s ongoing and expanding infringement of W&W’s

 Asserted Patents, W&W is informed and believes that Samsung has undertaken no efforts to

 avoid infringement of the Asserted Patents, despite Samsung’s knowledge and understanding

 that its products infringe these patents.

         103.   Given W&W’s repeated disclosures, Samsung knew or, at a minimum, was

 willfully blind to its infringement of W&W’s Asserted Patents. Samsung has been and is now

 infringing, and will continue to infringe, the Asserted Patents in this District and elsewhere in the

 United States by, among other things, making, using, importing, selling, and offering for sale the

 Accused Products. Samsung also indirectly infringes the Asserted Patents by inducing others,

 including customers, purchasers and users of its products, to directly infringe the Asserted

 Patents.

         104.   By continuing to infringe and inducing infringement, Samsung has acted with

 blatant and egregious disregard for W&W’s patent rights with an objectively high likelihood of

 infringement. Samsung’s continued infringement after its receipt of this Complaint is further

 evidence that its infringement is willful.

                                             COUNT I
                              (Direct Infringement of the ’871 Patent)

         105.   W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

         106.   In violation of 35 U.S.C. § 271(a), Samsung directly infringed and continues to

 infringe at least exemplary Claim 1 of the ’871 Patent by making, using, importing, selling, and



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 offering for sale in the United States the Accused Products. A copy of Claim 1 annotated with

 the designations used below to identify the elements of Claim 1 is attached as Exhibit 40. For

 example, “[1.a]” refers to “an array of pillars comprising Si, Ge, and/or SiGe alloy

 semiconductor material wherein at least some of the pillars are configured as photodetectors.”

        107.    Samsung’s acts of making, using, importing, selling, and offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of W&W. Indeed, Samsung declined W&W’s request that Samsung take a license.

        108.    Samsung’s infringement is based upon literal infringement or, at the very least,

 infringement under the doctrine of equivalents.

        109.    Samsung’s infringement includes the manufacture, use, sale, importation, and

 offer for sale of the CIS Accused Products, and the CIS Accused End Products that contain the

 CIS Accused Products, which each infringe the ’871 Patent because they satisfy each element of

 claims of the ’871 Patent, either literally, under the doctrine of equivalents, or both.

        110.    Samsung’s GN3 CMOS and Samsung’s Galaxy S23 smartphone that contains the

 GN3 CMOS, are representative examples of the various Accused Products that infringe the ’871

 Patent, including exemplary Claim 1.

        111.    The GN3 is used as a camera comprising an array of photodetector pixels, that

 convert lights into electronic data, and is an integrated structure. [1], [1.a]. The ICFA lab

 analysis, as shown below, confirms that the pixels of the GN3 are separated by deep trenches

 (DTI) into an array of pillars [1.a]. The pillars comprise light-receiving surfaces and sides

 [1.a.1]. The photodiodes within the pixel under a µ-lens are separated by holes fabricated as

 shallow trenches filled with dielectric material [1.b] [1.b.3].




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 Ex. 25 (ICFA-1265) at Slide 9 (showing an array of pillars having light-receiving surfaces and
 sides).

        112.   The shallow trenches, fabricated in the pillars [1.b], comprise elongated shapes at

 the light-receiving surface [1.b.1] as shown the SEM image below, which is obtained by

 polishing the µ-lens away through a delayering process.




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 Ex. 25 (ICFA-1265) at Slide 31 (showing elongated shapes at light-receiving surface and holes
 fabricated along the cross sections).




 Ex. 25 (ICFA-1265) at Slide 12 (showing dielectric material covering the sidewalls of the pillars
 and the shallow trenches (fabricated holes))




 Ex. 25 (ICFA-1265) at Slide 11 (showing a depth of 3.267nm for the pillars).

        113.    In addition, the walls of the deep trenches are covered by dielectric material [1.c].

 The pillars are spaced center to center by 1.02 µm (the dimension of the µ-lens). The height of


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 the pillar is about 3.267 µm (3,267 nanometers), and the shallow trench holes, which are about

 half the pillar height, are between 100-5,000 nanometers in height. [1.b.2].

        114.    As shown below, under the array of pillars, the GN3 has a base dielectric region

 in which multiple layers of metals are present to form electrical interconnect, which connects

 elements of the circuit. [1.d]. These metal layers facilitate the electrical contact to provide

 electrical pathways to the photodetectors in reverse biasing for light detection. [1.e, 1.e.1].




 Ex. 25 (ICFA-1265) at Slide 10 (showing dielectric material below the pillars).

        115.    In order to observe the doping profile, the ICFA analysis includes an SCM image

 with a closer view of the silicon region of the array, as shown below:




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 Ex. 25 (ICFA-1265) at Slide 38 (SCM images showing doping profile inside the pillars).

        116.    In the above SCM image, the doping of the semiconductor material is annotated

 by the color bar at the right. The blue color indicates regions that are heavily p-type doped. The

 yellow color indicates regions that are heavily n-type doped. The purple color indicates regions

 that are lightly n-type doped. Since SCM detects the mobile carrier concentrations of the

 material, insulating dielectric material appears as very low doped material. To the left of the

 SCM image is a corresponding image of the surface using an Atomic Force Microscope (AFM).

        117.    The purple regions in the SCM image annotated as “N-type lower doping

 concentration” ([1.a.4] regions therebetween) are the regions where the light is focused by the µ-

 lenses. The yellow regions annotated as “N-type higher doping concentration” (N-doped

 semiconductor [1.a.3]) are the regions located at the center of each photodiode. The blue region

 at the top of the N-type lower doping concentration semiconductor [1.a.4] is the P-doped

 semiconductor [1.a.2]. In addition:




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    •   the N-type lower doping concentration semiconductor material [1.a.4] is between the p-

        type [1.a.2] and n-type [1.a.3] doped semiconductor materials;

    •   the N-type lower doping concentration semiconductor material [1.a.4] is less doped than

        one of the p-type [1.a.2] and n-type [1.a.3] doped semiconductor materials;

    •   the N-type lower doping concentration semiconductor material [1.a.4] is depleted by the

        reverse biasing configuration [1.e.1] under the operation of detecting lights [1.a.5] to

        form a depletion region generating electron-hole pairs (electrical charge carriers); and

    •   each of the p-type [1.a.2] and n-type [1.a.3] doped semiconductor materials and said

        intermediate semiconductor material [1.a.4] are made of silicon. [1.a].

        118.    The p-type and n-type doped regions are electrically reverse biased to function as

 a photodetector. As shown below, the electrical contacts [1.e] are electrically coupled with the

 array of pillars [1.a] through a Vertical Transfer Gate (VTG).




 Ex. 25 (ICFA-1265) at Slide 41 (TEM image showing two metal contacts which are coupled to n
 and p regions via a Vertical Transfer Gate (VTG)).




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          119.   As explained by Samsung’s IR QE Article and shown below, the quantum

 efficiency of the photodetectors is enhanced by the in-pillar structures. With these structures, the

 photo absorption of light of 810nm is increased at least by a factor of 1.32, the photo absorption

 of light of 940nm is increased at least by a factor of 1.23, and the photo absorption for visible

 wavelengths between 620nm and 700nm is estimated to be 1.12 (88%/78%) to 1.17 (82%/70%)

 [1.f]. All improvements in absorption for wavelengths longer than 620nm are larger than 1.1.

 [1.f].




 Ex. 23 (IR QE Article) at Figs. 1 and 4 (showing backside scattering technology enhanced light
 absorption for wavelengths longer than 550nm, which includes green and red spectra).

          120.   Thus, Samsung’s GN3 product satisfies all elements of exemplary Claim 1 of the

 ’871 Patent. Samsung’s GN3 product is representative of its other CIS Accused Products, which

 also satisfy all elements of exemplary Claim 1 of the ’871 Patent.

          121.   Samsung’s direct infringement of the ’871 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

          122.   Samsung has had knowledge of W&W’s patents since at least as early as 2019

 and has had specific knowledge of its infringement of the ’871 Patent since at least the date of



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 this Complaint, if not earlier. Samsung’s actions are willful, blatant, and in egregious disregard

 for W&W’s patent rights.

         123.    Samsung’s infringement has caused and is continuing to cause damage and

 irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

         124.    Samsung acted recklessly, willfully, wantonly, and deliberately engaged in acts of

 infringement of the ’871 Patent, justifying an award to W&W of increased damages under 35

 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

         125.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s direct infringement of the ’871 Patent.

                                             COUNT II
                             (Indirect Infringement of the ’871 Patent)

         126.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

         127.    As set forth above, Samsung has had knowledge of W&W’s patents since at least

 as early as 2019 and has had specific knowledge of its infringement of the ’871 Patent since at

 least the date of this Complaint, if not earlier.

         128.    As set forth above, the CIS Accused Products and CIS Accused End Products

 infringe the ’871 Patent. Samsung has actively, knowingly, and intentionally induced and

 continues to induce direct infringement of the ’871 Patent pursuant to 35 U.S.C. §271(b).

         129.    For example, Samsung knowingly and actively encourages third parties, including

 direct and indirect customers of the CIS Accused Products, such as original equipment

 manufacturers, electronic manufacturing service providers, and other smartphone manufacturers

 to make, sell, offer to sell, import, and use in the United States end products that include the CIS



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 Accused Products. In addition, Samsung knowingly and actively encourages third parties,

 including direct and indirect customers of the CIS Accused Products and CIS Accused End

 Products, such as distributers and resellers, to sell, offer to sell, and import into the United States

 the CIS Accused Products and CIS Accused End Products. In addition, Samsung knowingly and

 actively encourages third parties, including direct and indirect customers, such as smartphone

 end users in the United States, to use the CIS Accused Products as part of the CIS Accused End

 Products or third party smartphones that include the CIS Accused Products.

         130.    Samsung engages in such encouragement by providing instructions and guidance

 regarding the use and testing of the CIS Accused Products and integration of the CIS Accused

 Products in the CIS Accused End Products and third party end products; providing information

 through user manuals, instructions, guidelines, training, videos, tutorials, developer forums, and

 technical support, and creating and maintaining service centers, which direct and facilitate the

 use of the CIS Accused Products in the CIS Accused End Products and third party end products;

 entering into agreements with distributers, resellers, original equipment manufacturers, electronic

 manufacturing service providers regarding making, testing, selling, offering to sell, and

 importing into the United States end products that include the CIS Accused Products; and

 advertising and promoting inclusion and use of the CIS Accused Products in the CIS Accused

 End Products and third party end products through, marketing materials, websites, press releases,

 trade shows and sales and distribution channels.

         131.    As an example of Samsung’s active encouragement of direct infringement,

 Samsung advertises and promotes the infringing features of the CIS Accused Products to

 customers, specifically emphasizing the “amazing light-sensitivity” and “sharp and bright night

 shots” that are directly attributable to the infringing features:




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 Ex. 41 at 1-4 (https://semiconductor.samsung.com/image-sensor/mobile-image-sensor/isocell-
 bright-gm2/).




 Ex. 42 at 5 (https://news.samsung.com/global/introducing-isocell-hp2-experience-more-pictures-
 and-epic-details-on-the-galaxy-s23-ultra).

 There are various additional examples of Samsung advertising and promoting the infringing

 features of the Accused Products. See, e.g., Exs. 46-47 (Isocell HP2 and HP3 press releases);




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 videos currently available at https://www.youtube.com/watch?v=eZMJrJgPuwY (Isocell HP2);

 https://www.youtube.com/watch?v=kbXY62rC8HA (Isocell HP3);

 https://www.youtube.com/watch?v=-DsFgBofmQE (Galaxy S23 Ultra with Isocell HP2);

 https://www.youtube.com/watch?v=11_n3fChK4A (Galaxy S23 Ultra with Isocell HP2).

        132.    As a further example of Samsung’s active encouragement of direct infringement,

 Samsung creates and promotes aspects of the CIS Accused Products that allow for integration of

 the infringing features into end products:




 Ex. 43 (https://news.samsung.com/global/samsung-makes-image-sensor-integration-easier-with-
 new-16mp-isocell-slim-3p9-and-plug-and-play-solution).




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        133.    Samsung has known or has been willfully blind to the fact that it is inducing

 others to infringe one or more claims of the ’871 Patent.

        134.    Samsung’s indirect infringement of the ’871 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        135.    Samsung’s indirect infringement has caused and is continuing to cause damage

 and irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        136.    Samsung’s actions of indirect infringement of the ’871 Patent are reckless,

 willful, wanton, deliberate and in blatant and egregious disregard for W&W’s patent rights,

 justifying an award to W&W of increased damages under 35 U.S.C. § 284, and attorney’s fees

 and costs incurred under 35 U.S.C. § 285.

        137.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s indirect infringement.

                                           COUNT III
                             (Direct Infringement of the ’360 Patent)

        138.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        139.    In violation of 35 U.S.C. § 271(a), Samsung directly infringed and continues to

 infringe at least exemplary Claim 1 of the ’360 Patent by making, using, importing, selling, and

 offering for sale in the United States the Accused Products. A copy of Claim 1 annotated with

 the designations used below to identify the elements of Claim 1 is attached as Exhibit 40.

        140.    Samsung’ acts of making, using, importing, selling, and offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of W&W. Indeed, Samsung declined W&W’s request that Samsung take a license.



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         141.     Samsung’s infringement is based upon literal infringement or, at the very least,

 infringement under the doctrine of equivalents.

         142.     Samsung’s infringement includes the manufacture, use, sale, importation, and

 offer for sale of the CIS Accused Products, and the CIS Accused End Products that contain the

 CIS Accused Products, which each infringe the ’360 Patent because they satisfy each element of

 claims of the ’360 Patent, either literally, under the doctrine of equivalents, or both.

         143.     Samsung’s GN3 CMOS and Samsung’s Galaxy S23 smartphone that contains the

 GN3 CMOS, are representative examples of the various Accused Products that infringe the ’360

 Patent, including exemplary Claim 1.

         144.     The GN3 is used as a camera that converts lights into electronic data. [1.d.1]. The

 ICFA lab analysis, as shown below, confirms that the pixels of the GN3 are separated by deep

 trenches (DTI) into a laterally extending array of pillars [1.a]. The pixels under respective µ-

 lenses are separated by shallow trenches filled with dielectric material that are fabricated in the

 pillars [1.c].




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 Ex. 25 (ICFA-1265) at Slide 8 (showing an array of pillars separated by deep trenches and in-
 pillar holes between deep trenches).




 Ex. 25 (ICFA-1265) at Slide 12 (showing dielectric material covering the sidewalls of the
 pillars).




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        145.    The walls of the deep trenches are covered by dielectric material [1.a.3]. The

 pillars are spaced center to center by 1.02 µm (the dimension of the µ-lens) which is less than

 10,000 nanometers (10 µm). [1.e.1]. The height of the pillar is about 3.7 µm (3,700 nanometers)

 and the intermediate semiconductor material (1.a.2), which is between the first doped

 semiconductor material (1.a.1) and the second doped semiconductor material (1.b), is 100-5,000

 nanometers in height. [1.e.2].

        146.    Under the array of pillars, as shown below, the GN3 has a base dielectric region

 in which multiple layers of metals are present to form electrical interconnects, which connect

 elements of the circuit. [1.e].




 Ex. 25 (ICFA-1265) at Slide 10 (showing dielectric material below the pillars).

        147.    In order to observe the doping profile, the ICFA analysis includes an SCM image

 with a closer view of the silicon region of the array, as shown below:




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 Ex. 25 (ICFA-1265) at Slide 38 (SCM images showing doping profile inside the pillars).

 In this SCM image, the doping of semiconductor is annotated by the color bar at the right. The

 blue color annotates the regions that are heavily p-type doped. The yellow color annotates

 regions that are heavily n-type doped. The purplish color annotates regions that are lightly n-

 type doped. Since SCM detects the mobile carrier concentrations of the material, a dielectric

 material, which is an insulator, appears as a very low doped material. To the left of the SCM

 image is a corresponding image of the surface using Atomic Force Microscope (AFM).

        148.    The purple regions in the SCM image annotated as “N-type lower doping

 concentration” (intermediate semiconductor material [1.a.2]) are the regions where the light is

 focused by the µ-lenses. The yellow regions annotated as “N-type higher doping concentration”

 ([1.a.1] first doped semiconductor) are the regions located at the center of each photodiode. The

 blue region at the top of the intermediate semiconductor is the [1.b] second doped

 semiconductor. In addition:




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     •   the intermediate semiconductor material [1.a.2] is between the first [1.a.1] and second

         [1b] doped semiconductor materials [1.b.1];

     •   the first [1.a.1] and second [1.b] doped semiconductor materials are doped to opposite

         semiconductor type [1.b.2];

     •   the intermediate semiconductor material [1.a.2] is less doped than at least one of the first

         [1.a.1] and second [1.b] doped semiconductor materials [1.b.3];

     •   the degree of doping is the same or different for different positions in the intermediate

         semiconductor material [1.a.3] [1.b.3]; and

     •   each of the first [1.a.1] and second [1.b] doped semiconductor materials and said

         intermediate semiconductor material [1.a.2] are made of silicon [1.b.4].

         149.    The p-type and n-type doped regions are electrically reverse biased to work as a

 photodetector. As shown below, top and bottom electrical contacts are electrically coupled with

 the array of pillars [1.d].




 Ex. 25 (ICFA-1265) at Slide 41 (TEM image showing two metal contacts which are coupled to n
 and p regions).



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        150.    As explained by Samsung’s IR QE Article and shown below, the quantum

 efficiency of the photodetectors is enhanced by the in-pillar structures. With these structures, the

 photo absorption of light of 810nm is increased at least by a factor of 1.32; the photo absorption

 of light of 940nm is increased at least by a factor of 1.23; and the photo absorption for visible

 wavelengths between 620nm and 700nm is estimated to be 1.12 (88%/78%) to 1.17 (82%/70%).

 All improvements in absorption for wavelengths longer than 620nm are larger than 1.1. [1.f].




 Ex. 23 (IR QE Article) at Figs. 1 and 4 (showing backside scattering technology enhanced light
 absorption for wavelengths longer than 550nm, which includes green and red spectra).

        151.    The GN3 chip integrates CMOS transistors (active elements) on the same

 substrate to perform signal processing and transmission, as explained above and further shown in

 the figures below. [1.g].




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 Ex. 25 (ICFA-1265) at Slide 23 (showing CMOS transistors with labels “Metal Gates” as gates
 for CMOS transistors, and interconnect metal layers).




 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 2 (showing integrated circuit to perform signal
 processing and transmission).




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         152.    Thus, Samsung’s GN3 product satisfies all elements of exemplary Claim 1 of the

 ’360 Patent. Samsung’s GN3 product is representative of its other CIS Accused Products, which

 also satisfy all elements of exemplary Claim 1 of the ’360 Patent.

         153.    Samsung’s direct infringement of the ’360 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

         154.    Samsung has had knowledge of W&W’s patents since at least as early as 2019

 and has had specific knowledge of its infringement of the ’360 Patent since at least the date of

 this Complaint, if not earlier. Samsung’s actions are willful, blatant, and in egregious disregard

 for W&W’s patent rights.

         155.    Samsung’s infringement has caused and is continuing to cause damage and

 irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

         156.    Samsung acted recklessly, willfully, wantonly, and deliberately engaged in acts of

 infringement of the ’360 Patent, justifying an award to W&W of increased damages under 35

 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

         157.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s direct infringement of the ’360 Patent.

                                             COUNT IV
                             (Indirect Infringement of the ’360 Patent)

         158.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

         159.    As set forth above, Samsung has had knowledge of W&W’s patents since at least

 as early as 2019 and has had specific knowledge of its infringement of the ’360 Patent since at

 least the date of this Complaint, if not earlier.



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        160.    As set forth above, the CIS Accused Products and CIS Accused End Products

 infringe the ’360 Patent. Samsung has actively, knowingly, and intentionally induced and

 continues to induce direct infringement of the ’360 Patent pursuant to 35 U.S.C. §271(b).

        161.    For example, Samsung knowingly and actively encourages third parties, including

 direct and indirect customers of the CIS Accused Products, such as original equipment

 manufacturers, electronic manufacturing service providers, and other smartphone manufacturers

 to make, sell, offer to sell, import, and use in the United States end products that include the CIS

 Accused Products. In addition, Samsung knowingly and actively encourages third parties,

 including direct and indirect customers of the CIS Accused Products and CIS Accused End

 Products, such as distributers and resellers, to sell, offer to sell, and import into the United States

 the CIS Accused Products and CIS Accused End Products. In addition, Samsung knowingly and

 actively encourages third parties, including direct and indirect customers, such as smartphone

 end users in the United States, to use the CIS Accused Products as part of the CIS Accused End

 Products or third party smartphones that include the CIS Accused Products.

        162.    Samsung engages in such encouragement by providing instructions and guidance

 regarding the use and testing of the CIS Accused Products and integration of the CIS Accused

 Products in the CIS Accused End Products and third party end products; providing information

 through user manuals, instructions, guidelines, training, videos, tutorials, developer forums, and

 technical support, and creating and maintaining service centers, which direct and facilitate the

 use of the CIS Accused Products in the CIS Accused End Products and third party end products;

 entering into agreements with distributers, resellers, original equipment manufacturers, electronic

 manufacturing service providers regarding making, testing, selling, offering to sell, and

 importing into the United States end products that include the CIS Accused Products; and




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 advertising and promoting inclusion and use of the CIS Accused Products in the CIS Accused

 End Products and third party end products through, marketing materials, websites, press releases,

 trade shows and sales and distribution channels.

         163.    As an example of Samsung’s active encouragement of direct infringement,

 Samsung advertises and promotes the infringing features of the CIS Accused Products to

 customers, specifically emphasizing the “amazing light-sensitivity” and “sharp and bright night

 shots” that are directly attributable to the infringing features:




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 Ex. 41 at 1-4 (https://semiconductor.samsung.com/image-sensor/mobile-image-sensor/isocell-
 bright-gm2/).



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 Ex. 42 at 5 (https://news.samsung.com/global/introducing-isocell-hp2-experience-more-pictures-
 and-epic-details-on-the-galaxy-s23-ultra).

 There are various additional examples of Samsung advertising and promoting the infringing

 features of the Accused Products. See, e.g., Exs. 46-47 (Isocell HP2 and HP3 press releases);

 videos currently available at https://www.youtube.com/watch?v=eZMJrJgPuwY (Isocell HP2);

 https://www.youtube.com/watch?v=kbXY62rC8HA (Isocell HP3);

 https://www.youtube.com/watch?v=-DsFgBofmQE (Galaxy S23 Ultra with Isocell HP2);

 https://www.youtube.com/watch?v=11_n3fChK4A (Galaxy S23 Ultra with Isocell HP2).

        164.    As a further example of Samsung’s active encouragement of direct infringement,

 Samsung creates and promotes aspects of the CIS Accused Products that allow for integration of

 the infringing features into end products:




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 Ex. 43 (https://news.samsung.com/global/samsung-makes-image-sensor-integration-easier-with-
 new-16mp-isocell-slim-3p9-and-plug-and-play-solution).

        165.    Samsung has known or has been willfully blind to the fact that it is inducing

 others to infringe one or more claims of the ’360 Patent.

        166.    Samsung’s indirect infringement of the ’360 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        167.    Samsung’s indirect infringement has caused and is continuing to cause damage

 and irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        168.    Samsung’s actions of indirect infringement of the ’360 Patent are reckless,

 willful, wanton, deliberate and in blatant and egregious disregard for W&W’s patent rights,




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 justifying an award to W&W of increased damages under 35 U.S.C. § 284, and attorney’s fees

 and costs incurred under 35 U.S.C. § 285.

        169.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s indirect infringement.

                                            COUNT V
                             (Direct Infringement of the ’543 Patent)

        170.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        171.    In violation of 35 U.S.C. § 271(a), Samsung directly infringed and continues to

 infringe at least exemplary Claim 1 of the ’543 Patent by making, using, importing, selling, and

 offering for sale in the United States the Accused Products. A copy of Claim 1 annotated with

 the designations used below to identify the elements of Claim 1 is attached as Exhibit 40.

        172.    Samsung’ acts of making, using, importing, selling, and offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of W&W. Indeed, Samsung declined W&W’s request that Samsung take a license.

        173.    Samsung’s infringement is based upon literal infringement or, at the very least,

 infringement under the doctrine of equivalents.

        174.    Samsung’s infringement includes the manufacture, use, sale, importation, and

 offer for sale of the CIS Accused Products, and the CIS-Included Accused Products that contain

 the CIS Accused Products, which each infringe the ’543 Patent because they satisfy each element

 of claims of the ’543 Patent, either literally, under the doctrine of equivalents, or both.

        175.    Samsung’s GN3 CMOS and Samsung’s Galaxy S23 smartphone that contains the

 GN3 CMOS, are representative examples of the various Accused Products that infringe the ’543

 Patent, including exemplary Claim 1.



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        176.    Samsung’s GN3 is a CMOS image sensor that converts light (optical input) to an

 electrical output. [1a, 1.a.5]. As confirmed by the ICFA lab analysis, as shown below, the pixels

 of the GN3 are separated by deep trenches (DTI) into a laterally extending array of pillars. The

 pixels comprise microstructure-enhanced photodetectors (MSPD) and have shallow trenches

 filled with dielectric material, which are microstructures to enhance photo sensitivity. [1a].




 Ex. 25 (ICFA-1265) at Slide 10 (showing shallow trenches covered with dielectric materials).

        177.    These MSPDs are reverse biased for detecting lights. Ex. 14 (Samsung’s 2020

 2PD paper). The cathodes of the MSPDs are biased to a positive voltage, VDDA, when

 integrated active electronics RG, TG_L and TG_R are turned on, as shown below:




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 Ex. 14 (Samsung’s 2PD Article) at Fig. 3 (annotated schematics of pixel circuit).

        178.    Specifically, the transistor symbols denoted by RG, TG_L, TG_R, SEL, and etc.,

 are for n-MOSFETs, which are a type of transistor. When RG, TG_L and TG_R are turned on, a

 positive voltage is applied to the cathodes of the MSPDs, causing reverse biasing to MSPDs.

 [1a.1]. The transistors TG_L and TG_R, labeled as VTG (i.e., vertical transfer gate) in the TEM

 (i.e., Transmission Electron Microscopy) picture below, are an active electronic circuit integrated

 into the MSPDs. [1a.2]. Both the MSPDs and the active electronic circuit are formed on a

 single substrate. [1a.3]. The P-contact and N-contact provide the electric connections to the

 MSPDs for reverse biasing. [1c].




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 Ex. 25 (ICFA-1265) at Slide 41 (TEM showing VTG’s (vertical transfer gates) are integrated
 into the photodetector; the P-contact and N contact facilitates reverse biasing of the
 photodetector).

         179.      Each pixel has an µ-lens to focus light to the input portion of the MSPD, which is

 substantially continuous spatially [1a.4], as illustrated below. The µ-lens bends the light rays

 away from the metal grids which provide optical isolation between color filters. The focused

 light rays enter the photo-detecting regions having holes (shallow trenches) fabricated therein.

 [1b.5], [1b.8].




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 Ex. 25 (ICFA-1265) at Slide 13 (annotated to illustrate the effect of the µ-lenses to focus the
 light rays to the MSPDs).

        180.    As shown in the Scanning Capacitance Microscopy (SCM) image below, the

 silicon inside the MSPD is doped into multiple regions. The purple regions annotated as “N-type

 lower doping concentration” (intermediate semiconductor) are the regions where the light is

 focused by the µ-lenses. The yellow regions annotated as “first (n-type) doped semiconductor”

 are the regions located at the center of each photodiode. The blue region at the top of the

 intermediate semiconductor is the second (p-type) doped semiconductor. These semiconductor

 regions have the following characteristics:

    •   The intermediate semiconductor material [1b.1] is between the first [1b.2] and second

        [1b.3] doped semiconductor materials;

    •   The first [1b.2] and second [1b.3] doped semiconductor materials are doped

        semiconductors [1b.6];




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    •   The intermediate semiconductor material [1b.1] is less doped than at least one of the first

        [1b.2] and second [1b.3] doped semiconductor materials [1b.7], and

    •   Each of the first [1b.2] and second [1b.3] doped semiconductor materials and

        intermediate semiconductor material [1b.1] comprises silicon [1b.4].




 Ex. 25 (ICFA-1265) at Slide 38 (SCM images showing doping profile inside the pillars, where
 the yellow region is highly doped n-type, the blue region is highly doped p-type and the purple
 region is lightly doped n-type).

        181.    After light enters the photo-detecting regions, it is converted into electrical output

 (photo-generated charges). The circuitry of Samsung’s GN3 processes the photo-generated

 charges into a processed output [1a.6], [1b.9], as explained by Figure 3 in Samsung’s 2020 2PD

 Article. As shown in Figure 3, there are two separate portions of active electronics. The first

 portion is located in each pixel on the top chip and the second portion is located in the bottom

 chip. These two chips are manufactured separately using different technologies and

 subsequently bonded together to form an integrated combination.



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 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 3 (schematics of pixel circuit and other active
 electronics to perform processing of the electrical output from the detector).

        182.   The schematics of the first portion of electronics (expanded below) show that

 there are two photodiodes in each pixel under one µ-lens. These two photodiodes are used to

 compute the status of focusing (the value of Output Memory in Figure 3), as explained in

 Samsung’s 2020 2PD Article.




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 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 3 (schematics of pixel circuit, annotated with claim
 elements of Claim 1 of the ’543 Patent).

        183.    As shown in Figure 3 of Samsung’s 2020 2PD Article, the GN3’s circuitry

 performs the following functions:

                •       turning on the Reset Gate (RS) and Transfer Gate (TG_L or TG_R), such
                        that VDDA is applied to the MSPD so that MSPD’s cathode is biased with
                        more positive voltage to establish electric fields in the P-N junction to
                        sweep the photo-generated charges [1c.1];

                •       turning off the Reset Gate (RS) and Transfer Gate (TG_L or TG_R), such
                        that photo-generated charges are swept by the electric field, causing the
                        positively charged holes to move to Nsub and the negatively charged
                        electrons to the cathode of the MSPD [1b.9]; and

                •       turning on the Transfer Gate (TG_L or TG_R) only, such that the photo-
                        generated charges are transferred to the gate of the source-follower circuit
                        and the current is amplified [1c.3].

        184.    The GN3’s circuitry also performs processing in addition to amplification to form

 the output [1c.4]. For example, the controls of the reset transistor (RG) and the transfer

 transistors (TG_L, TG_R) determine the integration of the photo-generated current by the

 following sequence of operations:




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                •       the reset transistor brings the gate voltage of the amplifier [1c.3] to VDDA
                        during the reset period;

                •       at the same time, reverse bias voltage is applied to the MSPD. After being
                        reset, the transfer transistor (transfer gate) discharges the gate capacitor of
                        the amplifier according to the photogenerated current in MSPD; and

                •       when the transfer transistor is turned off (after an integration time period),
                        the discharging stops. The amount of the change of the gate voltage of the
                        amplifier [1c.3] is proportional to the photocurrent multiplied by the
                        integration time.

        185.    The GN3’s circuitry also performs routing to one or more selected destinations.

 [1c.5]. The row driving signal [1c.6] coupled to the select switch determines which pixel in one

 column to be read to the column output. By sequentially turning out the select transistor of each

 cell row by row, the data of each row in the same column can be read out one by one. The row

 driving signal is a communication channel, driven by a timing control circuit on-chip or off-chip

 to select a row of pixels to be read to off-chip column analog-to-digital converter via column

 metal trace VPIXO, as shown in the figure above. [1c.6].

        186.    Thus, Samsung’s GN3 product satisfies all elements of exemplary Claim 1 of the

 ’543 Patent. Samsung’s GN3 product is representative of its other CIS Accused Products, which

 also satisfy all elements of exemplary Claim 1 of the ’543 Patent.

        187.    Samsung’s direct infringement of the ’543 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        188.    Samsung has had knowledge of W&W’s patents since at least as early as 2019

 and has had specific knowledge of its infringement of the ’543 Patent since at least February

 2020, if not earlier. Samsung’s actions are willful, blatant, and in egregious disregard for

 W&W’s patent rights.




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        189.    Samsung’s infringement has caused and is continuing to cause damage and

 irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        190.    Samsung acted recklessly, willfully, wantonly, and deliberately engaged in acts of

 infringement of the ’543 Patent, justifying an award to W&W of increased damages under 35

 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

        191.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s direct infringement of the ’543 Patent.

                                             COUNT VI
                             (Indirect Infringement of the ’543 Patent)

        192.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        193.    As set forth above, Samsung has had knowledge of W&W’s patents since at least

 as early as 2019 and has had specific knowledge of its infringement of the ’543 Patent since at

 least February 2020, if not earlier.

        194.    As set forth above, the CIS Accused Products and CIS Accused End Products

 infringe the ‘543 Patent. Samsung has actively, knowingly, and intentionally induced and

 continues to induce direct infringement of the ’543 Patent pursuant to 35 U.S.C. §271(b).

        195.    For example, Samsung knowingly and actively encourages third parties, including

 direct and indirect customers of the CIS Accused Products, such as original equipment

 manufacturers, electronic manufacturing service providers, and other smartphone manufacturers

 to make, sell, offer to sell, import, and use in the United States end products that include the CIS

 Accused Products. In addition, Samsung knowingly and actively encourages third parties,

 including direct and indirect customers of the CIS Accused Products and CIS Accused End



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 Products, such as distributers and resellers, to sell, offer to sell, and import into the United States

 the CIS Accused Products and CIS Accused End Products. In addition, Samsung knowingly and

 actively encourages third parties, including direct and indirect customers, such as smartphone

 end users in the United States, to use the CIS Accused Products as part of the CIS Accused End

 Products or third party smartphones that include the CIS Accused Products.

         196.    Samsung engages in such encouragement by providing instructions and guidance

 regarding the use and testing of the CIS Accused Products and integration of the CIS Accused

 Products in the CIS Accused End Products and third party end products; providing information

 through user manuals, instructions, guidelines, training, videos, tutorials, developer forums, and

 technical support, and creating and maintaining service centers, which direct and facilitate the

 use of the CIS Accused Products in the CIS Accused End Products and third party end products;

 entering into agreements with distributers, resellers, original equipment manufacturers, electronic

 manufacturing service providers regarding making, testing, selling, offering to sell, and

 importing into the United States end products that include the CIS Accused Products; and

 advertising and promoting inclusion and use of the CIS Accused Products in the CIS Accused

 End Products and third party end products through, marketing materials, websites, press releases,

 trade shows and sales and distribution channels.

         197.    As an example of Samsung’s active encouragement of direct infringement,

 Samsung advertises and promotes the infringing features of the CIS Accused Products to

 customers, specifically emphasizing the “amazing light-sensitivity” and “sharp and bright night

 shots” that are directly attributable to the infringing features:




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 Ex. 41 at 1-4 (https://semiconductor.samsung.com/image-sensor/mobile-image-sensor/isocell-
 bright-gm2/).




 Ex. 42 at 5 (https://news.samsung.com/global/introducing-isocell-hp2-experience-more-pictures-
 and-epic-details-on-the-galaxy-s23-ultra).




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 There are various additional examples of Samsung advertising and promoting the infringing

 features of the Accused Products. See, e.g., Exs. 46-47 (Isocell HP2 and HP3 press releases);

 videos currently available at https://www.youtube.com/watch?v=eZMJrJgPuwY (Isocell HP2);

 https://www.youtube.com/watch?v=kbXY62rC8HA (Isocell HP3);

 https://www.youtube.com/watch?v=-DsFgBofmQE (Galaxy S23 Ultra with Isocell HP2);

 https://www.youtube.com/watch?v=11_n3fChK4A (Galaxy S23 Ultra with Isocell HP2).

        198.    As a further example of Samsung’s active encouragement of direct infringement,

 Samsung creates and promotes aspects of the CIS Accused Products that allow for integration of

 the infringing features into end products:




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 Ex. 43 (https://news.samsung.com/global/samsung-makes-image-sensor-integration-easier-with-
 new-16mp-isocell-slim-3p9-and-plug-and-play-solution).

        199.    Samsung has known or has been willfully blind to the fact that it is inducing

 others to infringe one or more claims of the ’543 Patent.

        200.    Samsung’s indirect infringement of the ’543 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        201.    Samsung’s indirect infringement has caused and is continuing to cause damage

 and irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        202.    Samsung’s actions of indirect infringement of the ’360 Patent are reckless,

 willful, wanton, deliberate and in blatant and egregious disregard for W&W’s patent rights,

 justifying an award to W&W of increased damages under 35 U.S.C. § 284, and attorney’s fees

 and costs incurred under 35 U.S.C. § 285.

        203.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s indirect infringement.

                                           COUNT VII
                             (Direct Infringement of the ’700 Patent)

        204.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        205.    In violation of 35 U.S.C. § 271(a), Samsung directly infringed and continues to

 infringe at least exemplary Claim 1 of the ’700 Patent by making, using, importing, selling, and

 offering for sale in the United States the Accused Products. A copy of Claim 1 annotated with

 the designations used below to identify the elements of Claim 1 is attached as Exhibit 40.




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        206.    Samsung’ acts of making, using, importing, selling, and offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of W&W. Indeed, Samsung declined W&W’s request that Samsung take a license.

        207.    Samsung’s infringement is based upon literal infringement or, at the very least,

 infringement under the doctrine of equivalents.

        208.    Samsung’s infringement includes the manufacture, use, sale, importation, and

 offer for sale of the CIS Accused Products, and the CIS-Included Accused Products that contain

 the CIS Accused Products, which each infringe the ’700 Patent because they satisfy each element

 of claims of the ’700 Patent, either literally, under the doctrine of equivalents, or both.

        209.    Samsung’s GN3 CMOS and Samsung’s Galaxy S23 smartphone that contains the

 GN3 CMOS, are representative examples of the various Accused Products that infringe the ’700

 Patent, including exemplary Claim 1.

        210.    Samsung’s GN3 is a CMOS image sensor that converts light (optical input) to an

 electrical output. [1a, 1.a.5]. As confirmed by the ICFA lab analysis, as shown below, the pixels

 of the GN3 are separated by deep trenches (DTI) into a laterally extending array of pillars. The

 pillars with microstructure-enhanced photodetectors (MSPD) have shallow trenches filled with

 dielectric material, which are microstructures to enhance photo sensitivity. [1a].




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 Ex. 25 (ICFA-1265) at Slide 10 (showing shallow trenches covered with dielectric materials).

        211.   These MSPDs are reverse biased for detecting lights. Ex. 14 (Samsung’s 2020

 2PD paper). The cathodes of the MSPDs are biased to a positive voltage, VDDA, when

 integrated active electronics RG, TG_L and TG_R are turned on, as shown below:




 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 3 (annotated schematics of pixel circuit).


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        212.      Specifically, the transistor symbols denoted by RG, TG_L, TG_R, SEL, and etc.,

 are for n-MOSFETs, which are a type of transistor. When RG, TG_L and TG_R are turned on, a

 positive voltage is applied to the cathodes of the MSPDs, causing reverse biasing to MSPDs.

 [1a.1]. The transistors TG_L and TG_R, labeled as VTG (i.e., vertical transfer gate) in the TEM

 (i.e., Transmission Electron Microscopy) picture below, are an active electronic circuit integrated

 into the MSPDs. [1a.2]. Both the MSPDs and the active electronic circuit are formed on a

 single substrate. [1a.3]. The P-contact and N-contact provide the electric connections to the

 MSPDs for reverse biasing [1c] and are free of a pattern of openings that matches said holes

 [1b.5] [1c.1].




 Ex. 25 (ICFA-1265) at Slide 41 (TEM showing VTG’s (vertical transfer gates) are integrated
 into the photodetector; the P-contact and N contact facilitates reverse biasing of the
 photodetector).

        213.      Each pixel has an µ-lens to focus light to the input portion of the MSPD, which is

 substantially continuous spatially [1a.4], as illustrated below. The µ-lens bends the light rays

 away from the metal grids which provide optical isolation between color filters. The focused


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 light rays enter the photo-detecting regions having holes (shallow trenches) fabricated therein

 extending in directions transverse to the layers. [1b.5], [1b.8].




 Ex. 25 (ICFA-1265) at Slide 13 (annotated to illustrate the effect of the µ-lenses to focus the
 light rays to the MSPDs).

        214.    As shown in the Scanning Capacitance Microscopy (SCM) image below, the

 silicon inside the MSPD is doped into multiple regions. The purple regions annotated as “N-type

 lower doping concentration” (intermediate semiconductor) are the regions where the light is

 focused by the µ-lenses. The yellow regions annotated as “first (n-type) doped semiconductor”

 are the regions located at the center of each photodiode. The blue region at the top of the

 intermediate semiconductor is the second (p-type) doped semiconductor. These semiconductor

 regions have the following characteristics:

        •   The intermediate semiconductor material [1b.1] is between the first [1b.2] and second

            [1b.3] doped semiconductor materials;




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        •   The first [1b.2] and second [1b.3] doped semiconductor materials are doped

            semiconductors [1b.6];

        •   The intermediate semiconductor material [1b.1] is less doped than at least one of the

            first [1b.2] and second [1b.3] doped semiconductor materials [1b.7], and

        •   Each of the first [1b.2] and second [1b.3] doped semiconductor materials and

            intermediate semiconductor material [1b.1] comprises silicon [1b.4].




 Ex. 25 (ICFA-1265) at Slide 38 (SCM images showing doping profile inside the pillars, where
 the yellow region is highly doped n-type, the blue region is highly doped p-type and the purple
 region is lightly doped n-type).

        215.    After light enters the photo-detecting regions, it is converted into electrical output

 (photo-generated charges). The circuitry of Samsung’s GN3 processes the photo-generated

 charges into a processed output [1a.6], [1b.9], as explained by Figure 3 in Samsung’s 2020 2PD

 Article. As shown in Figure 3, there are two separate portions of active electronics. The first

 portion is located in each pixel on the top chip and the second portion is located in the bottom




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 chip. These two chips are manufactured separately using different technologies and

 subsequently bonded together to form an integrated combination [1a, 1.a.2].




 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 3 (schematics of pixel circuit and other active
 electronics to perform processing of the electrical output from the detector).

        216.   The schematics of the first portion of electronics (expanded below), show that

 there are two photodiodes in each pixel under one µ-lens. These two photodiodes are used to

 compute the status of focusing (the value of Output Memory in Figure 3), as explained in

 Samsung’s 2020 2PD Article.




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 Ex. 14 (Samsung’s 2020 2PD Article) at Fig. 3 (schematics of pixel circuit, annotated with claim
 elements of Claim 1 of the ’700 Patent).

        217.    As shown in Figure 3 of Samsung’s 2020 2PD Article, the GN3’s circuitry

 performs the following functions:

                •       turning on the Reset Gate (RS) and Transfer Gate (TG_L or TG_R), such
                        that VDDA is applied to the MSPD so that MSPD’s cathode is biased with
                        more positive voltage to establish electric fields in the P-N junction to
                        sweep the photo-generated charges [1c.1];

                •       turning off the Reset Gate (RS) and Transfer Gate (TG_L or TG_R), such
                        that photo-generated charges are swept by the electric field, causing the
                        positively charged holes to move to Nsub and the negatively charged
                        electrons to the cathode of the MSPD [1b.9]; and

                •       turning on the Transfer Gate (TG_L or TG_R) only, such that the photo-
                        generated charges are transferred to the gate of the source-follower circuit
                        and the current is amplified [1c.3].

        218.    The GN3’s circuitry also performs processing in addition to amplification to form

 the output [1c.4]. For example, the controls of the reset transistor (RG) and the transfer

 transistors (TG_L, TG_R) determine the integration of the photo-generated current by the

 following sequence of operations:




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                •       the reset transistor brings the gate voltage of the amplifier [1c.3] to VDDA
                        during the reset period;

                •       at the same time, reverse bias voltage is applied to the MSPD. After being
                        reset, the transfer transistor (transfer gate) discharges the gate capacitor of
                        the amplifier according to the photogenerated current in MSPD; and

                •       when the transfer transistor is turned off (after an integration time period),
                        the discharging stops. The amount of the change of the gate voltage of the
                        amplifier [1c.3] is proportional to the photocurrent multiplied by the
                        integration time.

        219.    The GN3’s circuitry also performs routing to one or more selected destinations.

 [1c.5]. The row driving signal [1c.6] coupled to the select switch determines which pixel in one

 column is to be read to the column output. By sequentially turning out the select transistor of

 each cell row by row, the data of each row in the same column can be read out one by one. The

 row driving signal is a communication channel, driven by a timing control circuit on-chip or off-

 chip to select a row of pixels to be read to off-chip column analog-to-digital converter via

 column metal trace VPIXO, as shown in the figure above. [1c.6].

        220.    Thus, Samsung’s GN3 product satisfies all elements of exemplary Claim 1 of the

 ’700 Patent. Samsung’s GN3 product is representative of its other CIS Accused Products, which

 also satisfy all elements of exemplary Claim 1 of the ’700 Patent.

        221.    Samsung’s direct infringement of the ’700 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        222.    Samsung has had knowledge of W&W’s patents since at least as early as 2019

 and has had specific knowledge of its infringement of the ’700 Patent since at least February

 2020, if not earlier. Samsung’s actions are willful, blatant, and in egregious disregard for

 W&W’s patent rights.




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        223.    Samsung’s infringement has caused and is continuing to cause damage and

 irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        224.    Samsung acted recklessly, willfully, wantonly, and deliberately engaged in acts of

 infringement of the ’700 Patent, justifying an award to W&W of increased damages under 35

 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

        225.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s direct infringement of the ’700 Patent

                                            COUNT VIII
                             (Indirect Infringement of the ’700 Patent)

        226.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        227.    As set forth above, Samsung has had knowledge of W&W’s patents since at least

 as early as 2019 and has had specific knowledge of its infringement of the ’700 Patent since at

 least February 2020, if not earlier.

        228.    As set forth above, the CIS Accused Products and CIS Accused End Products

 infringe the ’700 Patent. Samsung has actively, knowingly, and intentionally induced and

 continues to induce direct infringement of the ’700 Patent pursuant to 35 U.S.C. §271(b).

        229.    For example, Samsung knowingly and actively encourages third parties, including

 direct and indirect customers of the CIS Accused Products, such as original equipment

 manufacturers, electronic manufacturing service providers, and other smartphone manufacturers

 to make, sell, offer to sell, import, and use in the United States end products that include the CIS

 Accused Products. In addition, Samsung knowingly and actively encourages third parties,

 including direct and indirect customers of the CIS Accused Products and CIS Accused End



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 Products, such as distributers and resellers, to sell, offer to sell, and import into the United States

 the CIS Accused Products and CIS Accused End Products. In addition, Samsung knowingly and

 actively encourages third parties, including direct and indirect customers, such as smartphone

 end users in the United States, to use the CIS Accused Products as part of the CIS Accused End

 Products or third party smartphones that include the CIS Accused Products.

         230.    Samsung engages in such encouragement by providing instructions and guidance

 regarding the use and testing of the CIS Accused Products and integration of the CIS Accused

 Products in the CIS Accused End Products and third party end products; providing information

 through user manuals, instructions, guidelines, training, videos, tutorials, developer forums, and

 technical support, and creating and maintaining service centers, which direct and facilitate the

 use of the CIS Accused Products in the CIS Accused End Products and third party end products;

 entering into agreements with distributers, resellers, original equipment manufacturers, electronic

 manufacturing service providers regarding making, testing, selling, offering to sell, and

 importing into the United States end products that include the CIS Accused Products; and

 advertising and promoting inclusion and use of the CIS Accused Products in the CIS Accused

 End Products and third party end products through, marketing materials, websites, press releases,

 trade shows and sales and distribution channels.

         231.    As an example of Samsung’s active encouragement of direct infringement,

 Samsung advertises and promotes the infringing features of the CIS Accused Products to

 customers, specifically emphasizing the “amazing light-sensitivity” and “sharp and bright night

 shots” that are directly attributable to the infringing features:




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 Ex. 41 at 1-4 (https://semiconductor.samsung.com/image-sensor/mobile-image-sensor/isocell-
 bright-gm2/).




 Ex. 42 at 5 (https://news.samsung.com/global/introducing-isocell-hp2-experience-more-pictures-
 and-epic-details-on-the-galaxy-s23-ultra).




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 There are various additional examples of Samsung advertising and promoting the infringing

 features of the Accused Products. See, e.g., Exs. 46-47 (Isocell HP2 and HP3 press releases);

 videos currently available at https://www.youtube.com/watch?v=eZMJrJgPuwY (Isocell HP2);

 https://www.youtube.com/watch?v=kbXY62rC8HA (Isocell HP3);

 https://www.youtube.com/watch?v=-DsFgBofmQE (Galaxy S23 Ultra with Isocell HP2);

 https://www.youtube.com/watch?v=11_n3fChK4A (Galaxy S23 Ultra with Isocell HP2).

        232.    As a further example of Samsung’s active encouragement of direct infringement,

 Samsung creates and promotes aspects of the CIS Accused Products that allow for integration of

 the infringing features into end products:




 Ex. 43 (https://news.samsung.com/global/samsung-makes-image-sensor-integration-easier-with-
 new-16mp-isocell-slim-3p9-and-plug-and-play-solution).




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        233.    Samsung has known or has been willfully blind to the fact that it is inducing

 others to infringe one or more claims of the ’700 Patent.

        234.    Samsung’s indirect infringement of the ’700 Patent has injured and continues to

 injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

        235.    Samsung’s indirect infringement has caused and is continuing to cause damage

 and irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

 unless and until that infringement is enjoined by this Court.

        236.    Samsung’s actions of indirect infringement of the ’700 Patent are reckless,

 willful, wanton, deliberate and in blatant and egregious disregard for W&W’s patent rights,

 justifying an award to W&W of increased damages under 35 U.S.C. § 284, and attorney’s fees

 and costs incurred under 35 U.S.C. § 285.

        237.    W&W is entitled to injunctive relief, damages and any other relief in accordance

 with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s indirect infringement.

                                           COUNT IX
                             (Direct Infringement of the ’084 Patent)

        238.    W&W repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        239.    In violation of 35 U.S.C. § 271(a), Samsung directly infringed and continues to

 infringe at least exemplary Claim 1 of the ’084 Patent by making, using, importing, selling, and

 offering for sale in the United States the Accused Products. A copy of Claim 1 annotated with

 the designations used below to identify the elements of Claim 1 is attached as Exhibit 40.

        240.    Samsung’s acts of making, using, importing, selling, and offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of W&W. Indeed, Samsung declined W&W’s request that Samsung take a license.



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        241.    Samsung’s infringement is based upon literal infringement or, at the very least,

 infringement under the doctrine of equivalents.

        242.    Samsung’s infringement includes the manufacture, use, sale, importation, and

 offer for sale of ToF Accused Products, such as the ISOCELL Vizion 33D, Vizion 63D, and

 Vizion 931, and any CIS Accused End Products that contain these ToF Accused Products. Each

 of the ToF Accused Products infringe the ’084 Patent because they satisfy each element of

 claims of the ’084 Patent, either literally, under the doctrine of equivalents, or both.

        243.    The ToF Accused Products are primarily used for infrared applications, such as

 obtaining 3-dimensional profiles using indirect ToF.

        244.    As explained in Samsung’s 2021 ToF Article, the light sources (TX as shown

 below) are typically infrared lasers that are modulated with a high frequency signal. The ToF

 sensor computes the distance by detecting the phase change of this high frequency signal. [1b.1].

 The phase change requires high speed computation for each pixel, as shown below. Thus, the

 photodetectors must be as close as possible to the circuitry and are integrated on the same

 substrate as the circuitry when numerous pixels are processed [1b] [1b.2].




 Ex. 19 (Samsung’s 2021 ToF Article) at Fig. 1.


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        245.    As explained above, Samsung fabricates holes near the surface of the ToF

 Accused Products in the manner set forth in the ’084 Patent, by its use of backside scattering

 technology, in order to enhance the infrared light sensitivity of the ToF Accused Products.




 Ex. 23 (Samsung’s IR QE Article) at Figs. 1 and 4 (showing that backside scattering technology
 near the surface enhances the light absorption).

        246.    Samsung touts the benefits of its backside scattering technology feature on its

 website:

            A new era of depth sensing features is here. As a high-resolution VGA ToF
            solution, the ISOCELL Vizion 33D produces depth images with unrivalled
            precision. In both indoor and outdoor conditions, the sensor can detect the
            depth of an object within up to 5m with high accuracy. ISOCELL’s pixel
            technology, coupled with high resolution, enables the sensor to accurately
            separate objects from the background with 3D bokeh effect. Deep Trench
            Isolation technology (DTI) maximizes isolation between pixels to reduce
            crosstalk, while Backside Scattering Technology (BST) enhances the
            sensor’s quantum efficiency. With high-precision depth images, the
            ISOCELL Vizion 33D delivers next-level 3D applications, such as facial
            authentication for payment services.

 Ex. 18 at 3 (https://semiconductor.samsung.com/image-sensor/tof-sensor/isocell-vizion-33d/)
 (emphasis added).

        247.    TechInsights, a company that performs analysis of technology and market

 information for the semiconductor and microelectronics industry, including reverse engineering


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of microelectronics, noted in 2021 that it “observed” a “shallow trench grid” in Samsung’s “7.0

µm pixel-pitch, i-ToF image sensor,” as shown below:




Ex. 6 at 20 (2021 International Image Sensor Workshop (IISW) by TechInsights) at Fig. 15
(annotated to show holes fabricated inside the photodetector, the photon absorbing region and a
portion of the CMOS circuit).

       248.    For example, in Samsung’s Vizion 33D sensor, under the µ-lens, each

photodetector has an absorbing region [1b.1], as shown below, that comprises an I-region that is

between an N-region and a P-region [1b.1.a] and a substantially continuous layer interrupted by a

plurality of holes extending in the I-region toward the substrate [1b.1.b] and configured to

concurrently receive the same source signal (from TX above) at a plural number of the holes

[1b.1.c]. The photon absorbing [1b.1] and portion of CMOS circuit [1c] have thicknesses of the

same order of magnitude [1d]. The photon absorbing region also has a cathode region and an

anode region operatively associated with it [1e]. Reverse biasing circuitry is configured to apply




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a voltage between the cathode and anode regions such that said cathode region is driven to a

more positive voltage than said anode region [1f], to generate vertical E-field.




Ex. 19 (Samsung’s 2021 ToF Article) at Fig. 4 (annotated).

       249.    Samsung’s Vizion 33D has an integrated circuitry [1c] on the same substrate as

the photodetector that performs the calculation of phase delay using its 4-Tap approach.




Ex. 19 (Samsung’s 2021 ToF Article) at Fig. 5 (annotated).




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          250.   Thus, Samsung’s Vizion 33D product satisfies all elements of exemplary Claim 1

of the ’084 Patent. Samsung’s Vizion 33D product is representative of its other ToF Accused

Products, which also satisfy all elements of exemplary Claim 1 of the ’084 Patent.

          251.   Samsung’s direct infringement of the ’084 Patent has injured and continues to

injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

          252.   Samsung has had knowledge of W&W’s patents since at least as early as 2019

and has had specific knowledge of its infringement of the ’084 Patent since at least April 2019, if

not earlier. Samsung’s actions are willful, blatant, and in egregious disregard for W&W’s patent

rights.

          253.   Samsung’s infringement has caused and is continuing to cause damage and

irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court.

          254.   Samsung acted recklessly, willfully, wantonly, and deliberately engaged in acts of

infringement of the ’084 Patent, justifying an award to W&W of increased damages under 35

U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C. § 285.

          255.   W&W is entitled to injunctive relief, damages and any other relief in accordance

with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s direct infringement of the ’084 Patent

                                            COUNT X
                            (Indirect Infringement of the ’084 Patent)

          256.   W&W repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

          257.   As set forth above, Samsung has had knowledge of W&W’s patents since at least

as early as 2019 and has had specific knowledge of its infringement of the ’084 Patent since at

least April 2019, if not earlier.



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       258.    As set forth above, the ToF Accused Products infringe the ’084 Patent. Samsung

has actively, knowingly, and intentionally induced and continues to induce direct infringement of

the ’084 Patent pursuant to 35 U.S.C. §271(b).

       259.    For example, Samsung knowingly and actively encourages third parties, including

direct and indirect customers of the ToF Accused Products, such as original equipment

manufacturers, electronic manufacturing service providers, and other manufacturers, to make,

sell, offer to sell, import, and use in the United States end products that include the ToF Accused

Products. In addition, Samsung knowingly and actively encourages third parties, including

direct and indirect customers of the ToF Accused Products, such as distributers and resellers, to

sell, offer to sell, and import into the United States the ToF Accused Products In addition,

Samsung knowingly and actively encourages third parties, including direct and indirect

customers, such as end users in the United States, to use the ToF Accused Products as part of

products that include the ToF Accused Products.

       260.    Samsung engages in such encouragement by providing instructions and guidance

regarding the use and testing of the ToF Accused Products and integration of the ToF Accused

Products in third party end products; providing information through user manuals, instructions,

guidelines, training, videos, tutorials, developer forums, and technical support, and creating and

maintaining service centers, which direct and facilitate the use of the ToF Accused Products in

end products; entering into agreements with distributers, resellers, original equipment

manufacturers, electronic manufacturing service providers regarding making, testing, selling,

offering to sell, and importing into the United States end products that include the ToF Accused

Products; and advertising and promoting inclusion and use of the ToF Accused Products in end




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products through, marketing materials, websites, press releases, trade shows and sales and

distribution channels.

        261.    As an example of Samsung’s active encouragement of direct infringement,

Samsung advertises and promotes the infringing features of the ToF Accused Products to

customers, specifically emphasizing the improved performance attributes that are directly

attributable to the infringing features:




Ex. 44 at 1-3 (https://news.samsung.com/global/samsung-unveils-two-new-isocell-vizion-
sensors-tailored-for-robotics-and-xr-applications).

        262.    To encourage integration of the ToF Accused Products into end products,

Samsung notes that “Samsung ISOCELL Vizion 63D and ISOCELL Vizion 931 sensors are

currently sampling to OEMs worldwide.” Ex. 44 at 3

(https://news.samsung.com/global/samsung-unveils-two-new-isocell-vizion-sensors-tailored-for-

robotics-and-xr-applications).




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       263.    Samsung has known or has been willfully blind to the fact that it is inducing

others to infringe one or more claims of the ’084 Patent.

       264.    Samsung’s indirect infringement of the ’084 Patent has injured and continues to

injure W&W in an amount to be proven at trial, but not less than a reasonable royalty.

       265.    Samsung’s indirect infringement has caused and is continuing to cause damage

and irreparable injury to W&W, and W&W will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court.

       266.    Samsung’s actions of indirect infringement of the ’084 Patent are reckless,

willful, wanton, deliberate and in blatant and egregious disregard for W&W’s patent rights,

justifying an award to W&W of increased damages under 35 U.S.C. § 284, and attorney’s fees

and costs incurred under 35 U.S.C. § 285.

       267.    W&W is entitled to injunctive relief, damages and any other relief in accordance

with 35 U.S.C. §§ 283, 284, and 285 for Samsung’s indirect infringement.

                                     PRAYER FOR RELIEF

       WHEREFORE, W&W prays for judgment and relief as follows:

       A.      An entry of judgment holding that Samsung has infringed and is infringing the

’871, ’360, ’543, ’700, and ’084 Patents, and has induced infringement and is inducing

infringement of the ’871, ’360, ’543, ’700, and ’084 Patents;

       B.      A preliminary and permanent injunction against Samsung and its officers,

employees, agents, servants, attorneys, instrumentalities, and those in privity with them, from

infringing, directly or indirectly, the ’871, ’360, ’543, ’700, and ’084 Patents, and for all further

and proper injunctive relief pursuant to 35 U.S.C. § 283;




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       C.      An award to W&W of damages to be proven at trial to compensate W&W for

Samsung’s infringement of the ’871, ’360, ’543, ’700, and ’084 Patents that will account for

infringement up to trial based on the relevant information and financials produced, where said

damages will be no less than a reasonable royalty;

       D.      An award to W&W of increased damages under 35 U.S.C. § 284 based on, inter

alia, Samsung’s willful infringement of the ’871, ’360, ’543, ’700, and ’084 Patents;

       E.      A finding that this case is “exceptional” and an award to W&W of its costs and

reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

       F.      An accounting of all infringing sales and revenues from the first date of

infringement of the ’871, ’360, ’543, ’700, and ’084 Patents;

       G.      Post judgment interest and prejudgment interest; and

       H.      Such further and other relief as the Court may deem proper and just.

                                                Respectfully submitted

 Dated: October 21, 2024                    By: /s/ Elizabeth L. DeRieux
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